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            EXHIBIT A
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                           UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                            If You Bought A Cathode Ray Tube Product,
                                             A Class Action Settlement May Affect You.
                               Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
                                      contain a Cathode Ray Tube such as Televisions and Computer Monitors.
                                      A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
                                                                                     Important Dates
 Deadline to Request Exclusion from Settlement Class                                         August 10, 2015
 Deadline to Object to the Settlement                                                        August 10, 2015
 Fairness Hearing                                                                            October 23, 2015, at 10:00 a.m. at the United States District
                                                                                             Court for the Northern District of California, San Francisco
                                                                                             Division, in Courtroom 1 on the 17th Floor, at 450 Golden Gate
                                                                                             Ave., San Francisco, CA
A class action lawsuit that includes direct purchasers of CRT Products is currently pending.
Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an unlawful conspiracy to fix, raise, maintain or stabilize
the prices of Cathode Ray Tubes. Plaintiffs further claim that direct purchasers of televisions and monitors that contain a cathode ray tube
from the Defendants may recover for the effect that the cathode ray tube conspiracy had on the prices of televisions and monitors.
Plaintiffs allege that, as a result of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers paid more for
CRT Products than they would have paid absent the conspiracy. Defendants deny Plaintiffs’ claims.
A settlement has been reached with Thomson SA (now known as Technicolor SA) and Thomson Consumer Electronics, Inc. (now known
as Technicolor USA, Inc.) (collectively, “Thomson”); and Technologies Displays Americas LLC (formerly known as Thomson Displays
Americas LLC) (“TDA”). The companies are together referred to as the “Settling Defendants.”
Your legal rights will be affected whether you act or don’t act. This Notice includes information on the Settlement and the continuing
lawsuit. Please read the entire Notice carefully.
                            These Rights and Options – and deadlines to exercise them – are explained in this notice.
            You can object or comment on the Settlement                                                           see Question 10
            You may exclude yourself from the Settlement                                                          see Question 10
            You may go to a hearing and comment on the Settlement                                                 see Question 14
The Court in charge of this case still has to decide whether to approve the Settlement. The case against the Non-Settling Defendants
(identified below) continues.
                                                               WHAT THIS NOTICE CONTAINS
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        1. Why did I get this notice?
        2. Who are the Defendant and Co-Conspirator companies?
        3. What is this lawsuit about?
        4. Why is there a Settlement but the litigation is continuing?
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                For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                        BASIC INFORMATION
1.       Why did I get this notice?
You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products containing those tubes between
March 1, 1995 and November 25, 2007. A direct purchaser is a person or business who bought a CRT, or a television or computer
monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or subsidiaries themselves, as
opposed to an intermediary (such as a retail store).
You have the right to know about the litigation and about your legal rights and options before the Court decides whether to approve
the Settlement.
The notice explains the litigation, the settlement, and your legal rights.
The Court in charge of the case is the United States District Court for the Northern District of California, and the case is called In re
Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917. The people who sued are called Plaintiffs and the companies they sued
are called Defendants.
2.       Who are the Defendant and Co-Conspirator companies?
The Defendant and Co-Conspirator companies include: Thomson SA (now known as Technicolor SA); Thomson Consumer
Electronics, Inc. (now known as Technicolor USA, Inc.); Technologies Displays Americas LLC (formerly known as Thomson
Displays Americas LLC); Videocon Industries, Ltd.; Mitsubishi Electric Corporation; Mitsubishi Electric US, Inc. (formerly known as
Mitsubishi Electric & Electronics USA, Inc.); Mitsubishi Electric Visual Solutions America, Inc. (formerly known as Mitsubishi
Digital Electronics America, Inc.); LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd.,
Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.,
Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America Information Systems, Inc., Toshiba America
Electronic Components, Inc., Panasonic Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North
America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd.
(n/k/a Japan Display Inc.), Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of
America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation f/k/a
Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd.,
and Irico Display Devices Co., Ltd.
3.       What is this lawsuit about?
The lawsuit alleges that Defendants and Co-Conspirators conspired to raise and fix the prices of CRTs and the CRTs contained in
certain finished products for over ten years, resulting in overcharges to direct purchasers of those CRTs and certain finished products
containing CRTs. The complaint describes how the Defendants and Co-Conspirators allegedly violated the U.S. antitrust laws by
establishing a global cartel that set artificially high prices for, and restricted the supply of CRTs and the televisions and monitors that
contained them. Defendants deny Plaintiffs’ allegations. The Court has not decided who is right.
4.       Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement with Thomson and TDA. Plaintiffs
have also reached seven previous settlements with Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.;
Koninklijke Philips Electronics N.V.; Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.;
Philips da Amazonia Industria Electronica Ltda.; Panasonic Corporation (f/k/a Matsushita Electric Industrial, Ltd.); Panasonic
Corporation of North America; MT Picture Display Co., Ltd. (this settlement also releases Beijing-Matsushita Color CRT Company,
Ltd.); LG Electronics, Inc.; LG Electronics U.S.A., Inc.; LG Electronics Taiwan Taipei Co., Ltd. (this settlement also releases LP
Displays International, Ltd. f/k/a LG.Philips Displays.); Toshiba Corporation; Toshiba America Information Systems, Inc.; Toshiba
America Consumer Products, L.L.C.; Toshiba America Electronic Components, Inc.; Hitachi, Ltd.; Hitachi Displays, Ltd. (n/k/a Japan
Displays Inc.); Hitachi America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic Devices (USA) Inc.; Samsung SDI Co. Ltd. (f/k/a
Samsung Display Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin Samsung SDI Co., Ltd.;
Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; and SDI Mexico S.A. de C.V. Five of the previous seven settlements have
been finally approved by the Court. The case is continuing against the remaining Non-Settling Defendants. Additional money may
become available in the future as a result of a trial or future settlements, but there is no guarantee that this will happen.
5.       What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of any type (e.g. color display tubes and
color picture tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and Computer Monitors.



            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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6.        What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who have similar claims. All these people
are members of the class, except for those who exclude themselves from the class.
If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified about those outcomes, if any, at
that time. Important information about the case will be posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com
as it becomes available. Please check the website to be kept informed about any future developments.
                                                      THE SETTLEMENT CLASS
7.        How do I know if I’m part of the Settlement Class?
The Settlement Class includes:
All persons and entities who, between March 1, 1995 and November 25, 2007, directly purchased a CRT Product in the United States
from any defendant or subsidiary or affiliate thereof, or any co-conspirator (“Settlement Class”).
8.        What does the Settlement provide?
The Settlement with Thomson and TDA provides for a payment in the amount of $9,750,000 in cash to the Settlement Class. The Settling
Defendants also agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the complaint. In addition,
the Settling Defendants’ sales remain in the case for the purpose of computing damages against the remaining non-settling Defendants.
More details are in the Settlement Agreement, available at www.CRTDirectPurchaserAntitrustSettlement.com.
9.        When can I get a payment?
No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit against the Non-Settling Defendants to
see if any future settlements or judgments can be obtained in the case and then be distributed together, to reduce expenses.
Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be notified in the future when and where to
send a claim form. DO NOT SEND ANY CLAIMS NOW.
In the future, each class member’s pro rata share of the Settlement Fund will be determined by computing each valid claimant’s total
CRT Product purchases divided by the total valid CRT Product purchases claimed. This percentage is multiplied by the Net
Settlement Fund (total settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata share of the
Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and CDTs) are calculated at full value while CRT
televisions are valued at 50% and CRT computer monitors are valued at 75%.
In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the CRT value of the product you
purchased - tubes 100%, monitors 75% and televisions 50%.
10.       What are my rights with regard to the Settlement Class?
Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you do not need to take any action at this
time.
Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants about the claims in this case,
you must exclude yourself from the Settlement Class. You will not get any money from the settlement if you exclude yourself f rom
the Settlement Class.
To exclude yourself from the Settlement Class, you must send a letter that includes the following:
         Your name, address and telephone number,
         A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917,
          Thomson/TDA Settlement; and
         Your signature.
You must mail your exclusion request, postmarked no later than August 10, 2015 to:
                                                          CRT Direct Settlement
                                                          c/o Gilardi & Co. LLC
                                                              P.O. Box 8090
                                                        San Rafael, CA 94912-8090

Remain in the Settlement Class and Object: If you have comments about, or disagree with, any aspect of the Settlement, you may
express your views to the Court by writing to the addresses below. The written response needs to include your name, address,
telephone number, the case name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief
explanation of your reasons for objection, and your signature. The response must be postmarked no later than August 10, 2015 and
mailed to:
           For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                         INTERIM LEAD
            COURT                                                     COUNSEL FOR THOMSON                COUNSEL FOR TDA
                                            COUNSEL
 Honorable Samuel Conti            Guido Saveri                       Kathy L. Osborn                 Donald Wall
 United States District Court      R. Alexander Saveri                Ryan M. Hurley                  SQUIRE PATTON BOGGS
 Northern District of California   SAVERI & SAVERI, INC.              FAEGRE BAKER DANIELS            (US) LLP
 San Francisco Division            706 Sansome Street                 LLP                             1 E. Washington Street, Suite
 450 Golden Gate Avenue            San Francisco, CA 94111            300 N. Meridian Street, Suite   2700
 Courtroom 3, 17th floor                                              2700                            Phoenix, AZ 85004
 San Francisco, CA 94102                                              Indianapolis, IN 46204
11.      What am I giving up to stay in the Settlement Class?
Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants (or any of the related entities that are
released in the Settlement Agreement), or be part of any other lawsuit against these Settling Defendants about the legal issues in this
case. It also means that all of the decisions by the Court will bind you. The “Release of Claims” includes any causes of actions
asserted or that could have been asserted in the lawsuit, as described more fully in the Settlement Agreement. Th e Settlement
Agreement is available at www.CRTDirectPurchaserAntitrustSettlement.com.
                                           THE SETTLEMENT APPROVAL HEARING
12.      When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing at 10:00 a.m. on October 23, 2015, at the United States District Court for the Northern District
of California, San Francisco Division, in Courtroom 1 on the 17th Floor, at 450 Golden Gate Ave. The hearing may be moved to a
different date or time without additional notice, so it is a good idea to check the class website for information. At this hearing, the
Court will consider whether the Settlement is fair, reasonable and adequate. If there are objections or comments, the Court will
consider them at that time. After the hearing, the Court will decide whether to approve the Settlement. We do not know how long
these decisions will take.
13.      Do I have to come to the hearing?
No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome to come at your own expense. If you
send an objection or comment, you don’t have to come to Court to talk about it. As long as you mailed your written objection on time,
the Court will consider it. You may also pay another lawyer to attend, but it’s not required.
14.      May I speak at the hearing?
If you want your own lawyer instead of Interim Lead Counsel to speak at the Fairness Hearing, you must give the Court a paper that is
called a “Notice of Appearance.” The Notice of Appearance should include the name and number of the lawsuit (In re Cathode Ray
Tube (CRT) Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the Fairness Hearing. It also must
include your name, address, telephone number, and signature. Your “Notice of Appearance” must be postmarked no later than August
10, 2015. You cannot speak at Hearing if you previously asked to be excluded from the Settlement.
The Notice of Appearance must be sent to the addresses listed in Question 10.
                                             THE LAWYERS REPRESENTING YOU
15.      Do I have a lawyer in the case?
Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim Lead Counsel.” You do not have to
pay Interim Lead Counsel. If you want to be represented by your own lawyers, and have that lawyer appear in court for you in this
case, you may hire one at your own expense.
16.      How will the lawyers be paid?
Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead Counsel will ask the Court for attorneys’
fees not to exceed one-third (33.3%) of this or any future Settlement Fund plus reimbursement of their costs and expenses, in
accordance with the provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount be paid to each
of the Class Representatives who helped the lawyers on behalf of the whole Class.
                                               GETTING MORE INFORMATION
17.      How do I get more information?
This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit and Settlement at
www.CRTDirectPurchaserAntitrustSettlement.com, by calling 1-877-224-3063, or writing to CRT Direct Settlement, c/o Gilardi
& Co. LLC, P.O. Box 808003, Petaluma, CA 94975-8003. Please do not contact the Court about this case.
Dated: June 26, 2015.                                          BY ORDER OF THE COURT

           For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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             EXHIBIT B
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A12              N                                                           THE NEW YORK TIMES NATIONAL MONDAY, JUNE 29, 2015



REACTION TO MARRIAGE RULING



With Same-Sex Decision, Evangelical Churches Address New Reality
          From Page A1
changing legal landscape on gay
rights will inevitably lead to con-
straints on religious freedom.
   But the challenges are not only
external. To a degree that is rare-
ly acknowledged in the public
square,      many       evangelical
churches are also grappling with
internal questions. Especially in
and around large urban areas,
pastors increasingly report that
some openly gay and lesbian
Christians are opting to worship
in evangelical congregations
(“more and more are coming to
our church,” Mr. Allison said) and
that heterosexual worshipers are
struggling over the church’s pos-
ture because friends or family
members are gay.
   “There is a growing desire on
the part of some, even within the
church, to combine their Chris-
tian faith with the acceptance of
homosexual practice,” the Whea-
ton Bible statement acknowl-
edged.
   The result has been an obvious
change in tone and emphasis —
but not teaching or policy — at
many churches. Almost all evan-
gelical churches oppose same-
sex marriage, and many do not
allow gays and lesbians to serve
in leadership positions unless
they are celibate. Some pastors,
however, now either minimize
their preaching on the subject or
speak of homosexuality in care-
fully contextualized sermons em-
phasizing that everyone is a sin-
ner and that Christians should
love and welcome all.
   “Evangelicals are coming to
the realization that they hold a
minority view in the culture, and                                                                                                                                                                         JOSHUA LOTT FOR THE NEW YORK TIMES
that on this issue, they have lost
the home-field advantage,” said       The Rev. Wilfredo De Jesús, senior pastor of New Life Covenant Church, noted that for 2,000 years the Christian church had often been at odds with the culture.
Ed Stetzer, the executive director
of LifeWay Research, which sur-       ticing evangelicals is minimal.”         But even in his church family,         el, which draws about 6,000 wor-         After The Chapel’s Saturday           be quoted by name while dis-
veys evangelicals. “They are             Polling supports that assertion.   there are gays and lesbians.              shipers each weekend across            evening worship, one of the             agreeing with a church leader
learning to speak with winsome-       Even in an era when most Ameri-       Fa’Darryl Brown, 34, a gay man            eight campuses, the pastor, Scott      church’s members, Kevin Wood-           preaching in the next room. “The
ness and graciousness, which,         cans, including a majority of         who worships at New Life South-           Chapman, chose this weekend            side, 51, said he felt uncomfort-       court made the right decision,”
when their view was the major-        Catholics and white mainline          east in Chicago, a “daughter              not to talk about the Supreme          able watching news coverage of          said another.
ity, evangelicals tended not to       Protestants, support same-sex         church” of New Life Covenant,             Court but to stick to a planned        the Supreme Court decision and             Far more of those interviewed
do.” A handful of evangelical         marriage, among white evangeli-       said simply, “I’m not aware of            sermon on Moses.                       seeing the angry signs held by          said they supported the church’s
churches have changed their po-       cals just 27 percent are in favor     Choco’s stance.” Mr. Brown said              Two years ago, he had               some opponents.                         position that marriage should be
sitions. City Church in San Fran-     while 70 percent are opposed, ac-     that his local pastor had de-             preached at length on homosex-           “It’s hard to look at that as a       reserved for opposite-sex cou-
cisco, for example, has dropped       cording to the Pew Research           scribed homosexuality as a sin,           uality, but only after a series of     Christian response to this,” he         ples. John Mulsoff, 66, who was
its rule that gays and lesbians       Center.                               but that “he doesn’t make you             meetings with gay and lesbian          said. “I don’t want to judge any-       playing with his grandson, a Bi-
commit to celibacy to become             “Just because it’s legal doesn’t   feel hell-bound.”                         worshipers; in that sermon, he         body on this. We all come here in       ble at his elbow, during a morn-
members,       and     GracePointe    mean it’s ethical,” said the Rev.        “I just see the subject of sexu-       repeatedly referred to homosex-        different states of brokenness.”        ing break, said he and his wife
Church in Tennessee has said          Wilfredo De Jesús, the senior         ality as one that we may have to          uality as a sin, but also apolo-         At Wheaton Bible on Sunday,           discussed the issue during a long
gays and lesbians can serve in        pastor of New Life Covenant           agree to disagree on,” he said. “It       gized for the behavior of Chris-       Mr. Allison said that when he was
                                                                                                                                                                                                     car ride the previous day.
leadership roles and receive the      Church, an Assemblies of God          doesn’t mean that I can’t sit un-         tians. “For far too long, in far too   delivering the statement reiterat-
sacrament of marriage. Ken Wil-       megachurch that has nearly            der his ministry.”                        many places, far too frequently,”      ing his church’s opposition to             “I’m very conflicted about it,”
son, who founded the Vineyard         20,000 members on multiple cam-          The court decision did not             he said then, “gay and lesbian         same-sex marriage, he looked            he said. “I believe, as our church
Church in Ann Arbor, Mich., pub-      puses, most of them in Chicago.       come as a complete surprise, of           people have been treated very          out over the crowd and guessed          does, that marriage should be be-
lished an open letter calling for a      “We won’t marry two men.           course. Wheaton Bible began               badly in the name of Jesus Christ,     that 5 percent to 10 percent of         tween a man and a woman, but I
greater embrace of gays and les-      That goes against our beliefs,”       working on its statement on               and it’s not O.K.”                     those present disagreed. Inter-         don’t believe in discrimination,
bians in evangelical churches.        said Mr. De Jesús, who is known       Tuesday, anticipating the ruling.            In an interview, Mr. Chapman        views at the church’s cafe bore         and I can’t say how I would deal
But Mr. Stetzer said they are the     as Pastor Choco. He, like others      And same-sex marriage was al-             said that he did not support           that out: Even as he was presid-        with it if I had a son or a daughter
exceptions.                           interviewed, noted that over          ready legal in Illinois, as in many       same-sex marriage, but that “we        ing at a late service, a few attend-    in that situation.”
   “Well-known evangelicals who       2,000 years of Christian history,     other states, before the Supreme          have a substantial number of           ees at the early service volun-            Claudia Velazquez, 21, said: “I
have shifted on same-sex mar-         the church has often been at odds     Court decision; it was legalized          folks in our church in that life-      teered that they did not share          don’t agree with legalization, but
riage, you could fit them all in an   with the culture.                     here last year.                           style.”                                their church’s reaction to the Su-      I do respect the human beings. It
S.U.V.,” Mr. Stetzer said. “If you       “We’re prepared to go to pris-        In Libertyville, Ill., at one of the      “We want to be a place that         preme Court decision.                   does not take away from their
do shift, you become a media ce-      on, or whatever occurs, but the       main campuses of a nondenomi-             loves everybody and is open to           “It’s not a sad day. It’s a happy     character, and at the end they’re
lebrity, but the shift among prac-    church cannot change,” he said.       national church called The Chap-          everybody,” he added.                  day,” said one, who asked not to        a creation of God, too.”



                                                                                                                      Maine Governor Becomes a Party of One
                                                                                                                                                             crats to pass the budget.               run a charter school — whose
                                                                                                                               From Page A10                    “I want to show that for five        board is chaired by Eves’s own
                                                                                                                      to eliminate the income tax by in-     months they wasted our time,            State House employee — for a
                                                                                                                      creasing and broadening the            and this time I’m going to waste        cushy job worth about $150,000 in
                                                                                                                      sales tax. He failed to engage his     a little of their time,” said Mr. Le-   total compensation,” Mr. LePage
                                                                                                                      own party in advance, and Re-          Page, who went on to veto 64 line       said in a statement explaining his
                                                                                                                      publican legislators balked.           items in the budget.                    actions.
                                                                                                                         Among them was Senator Tom             Mr. Bennett, the Republican             Mr. Bennett said that the gov-
                                                                                                                      Saviello. “The governor is a busi-     Party chairman, said Mr. LePage         ernor had discretion over the use
                                                                                                                      nessman, a former C.E.O. whose         felt justified in taking these steps    of the money in question and that
                                                                                                                      method is to do what he wants,”        because the budget “didn’t re-          he was well within his legal rights
                                                                                                                                                             flect the reason he got re-elect-       to withhold it.
                                                                                                                      Mr. Saviello said of Mr. LePage,
                                                                                                                                                             ed.”                                       Representative Jeffrey Evan-
                                                                                                                      who was the general manager of
                                                                                                                                                                The effect has been to unify the     gelos, an independent, was
                                                                                                                      a 14-store discount chain. “But I
                                                                                                                                                             Republicans and Democrats.              among those who began re-
                                                                                                                      have to figure out what’s best for
                                                                                                                                                                “Right now, the Legislature is       searching impeachment proceed-
                                                                                                                      the people of Franklin County.”
                                                                                                                                                                                                     ings last week on the grounds of
                                                                                                                         Mr. LePage also has refused to
                                                                                                                                                                                                     abuse of authority, misuse of as-
                                                                                                                      release money for bond issues                                                  sets and unbecoming conduct.
                                                                                                                      approved by voters. And he de-
                                                                                                                      clared that he would veto every
                                                                                                                                                             An angry and tired                         “You can’t leverage state as-
                                                                                                                                                                                                     sets to intimidate a private enti-
                                                                                                                      bill sponsored by a Democrat un-
                                                                                                                      til Democrats supported his pro-
                                                                                                                                                             Legislature fights                      ty,” he said.
                                                                                                                                                                                                        The state’s biggest newspaper,
                                                                                                                      posed constitutional amendment         back with overrides.                    The Portland Press Herald, has
                                                                                                                      to eliminate Maine’s income tax.                                               called for a House investigation
                                                                                                                      Democrats said the governor had                                                of the Eves affair and said that,
                                                                                                                      no plan for filling the $1.7 billion                                           unless new information emerged
                                                                                                                      hole that eliminating the income       united in lock step and opposed
                                                                                                                                                             to the governor,” said Mark             justifying the governor’s action,
                                                                                                                      tax would create.                                                              he should be impeached and tried
                                                                                                                         In mid-June, after the Legisla-     Brewer, a political scientist at the
                                                                                                                                                                                                     by the Senate.
                                                                                                                      ture passed a budget that did not      University of Maine. “They view
                                                                                                                                                                                                        So far, more than a dozen inde-
                                                                                                                      include his tax-cut proposals, the     this as an institutional fight rath-
                                                                                                                                                                                                     pendents and Democrats have
                                                                                                                      governor showed off a Christmas        er than a partisan fight.”              joined the impeachment effort,
                                                                                                                      tree outside his office. It was          All of this set the stage for the     Mr. Evangelos said, but many
                                                                                                                      adorned with the pictures of leg-      fury that erupted last week when        more are holding back.
                                                                                                                      islators he said had loaded up the     Mr. LePage threatened to halt              Mr. Katz, chairman of the Gov-
                                                                                                                      budget with wasteful spending          state financing to the Good Will-       ernment Oversight Committee,
                                                                                                                      projects, often called pork. He        Hinckley charter school if it al-       said on Friday that he expected
                                                                                                                      produced a pink plastic pig and        lowed Mr. Eves to become its            the committee and the Office of
                                                                                                                      squeaked it.                           president.                              Program Evaluation and Govern-
                                                                                                                         And he extended his veto              “Speaker Eves has been an ar-         ment Accountability to begin an
                                                                                                                      threat to include any bill spon-       dent foe of charter schools for his     investigation of the episode.
                                                                                                                      sored by Republicans, saying           entire political career; then he           He added with a sigh: “Sum-
                                                                                                                      they had conspired with Demo-          turns around and gets hired to          mer can’t come soon enough.”



                                                                                                                      Jailed Crime Boss’s Tip to Students: Go to Law School
                                                                                                                        BOSTON (AP) — James                  foolishly, brought shame and suf-       fugitives before he was captured
                                                                                                                      (Whitey) Bulger, the former Bos-       fering on my parents and siblings       in California in 2011. His lawyers
                                                                                                                      ton crime boss, has offered ad-        and will end soon,” he wrote.           are appealing his conviction next
                                                                                                                      vice for three high school girls         “Advice is a cheap commodity.         month before the federal appeals
                                                                                                                      who wrote to him for a history         Some seek it from me about              court in Boston.
                                                                                                                      project: Crime does not pay.           crime. I know only one thing for           The three 17-year-olds at Appo-
                                                                                                                        Mr. Bulger sent the handwrit-        sure: If you want to make crime         nequet Regional High School in
                                                                                                                      ten letter, dated Feb. 24, from the    pay go to law school.”                  Lakeville, Mass., chose him for a
                                                                                                                      federal prison in Florida where          Mr. Bulger, 85, was convicted         National History Day competi-
                                                                                                                      he is serving two life sentences,      in 2013 on racketeering charges         tion entry on leadership and lega-
                                                                                                                      The Boston Globe reported Sun-         that included playing a role in 11      cy. Their project took first place
                                                                                                                      day.                                   murders. He spent 16 years as           in the district but did not place in
                                                                                                                        “My life was wasted and spent        one of the nation’s most wanted         the state competition.
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            EXHIBIT C
P2JW180000-0-C00500-1--------XA                                                                                  CL,CN,CX,DL,DM,DX,EE,EU,FL,HO,KC,MW,NC,NE,NY,PH,PN,RM,SA,SC,SL,SW,TU,WB,WE
           CMYK       Composite                                                                                  BG,BM,BP,CC,CH,CK,CP,CT,DN,DR,FW,HL,HW,KS,LA,LG,LK,MI,ML,NM,PA,PI,PV,TD,TS,UT,WO
                                                                                                         Case 4:07-cv-05944-JST Document 4091-2 Filed 10/02/15 Page 13 of 29


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                             CLOSED-END FUNDS & MONEY RATES                                                                                                                                                                                               MONEY & INVESTING
     Listed are the 300 largest closed-end funds as measured by                                                                 52 wk                                                    Prem 12 Mo




                                                                                                                                                                                                             Rains Boost Cotton Prices
     assets.                                                                                                              Prem     Ttl        Fund (SYM)                      NAV Close /Disc Yld
     Closed-end funds sell a limited number of shares and invest the           Fund (SYM)                      NAV Close /Disc Ret
     proceeds in securities. Unlike open-end funds, closed-ends generally                                                                       Eaton Vance Mun Income EVN 12.55 12.50 -0.4 6.8
     do not buy their shares back from investors who wish to cash in             EatonVance TxAdv Opport ETO 25.10 23.96 -4.5 0.8               EV National Municipal Opp EOT 22.43 20.62 -8.1 4.9
     their holdings. Instead, fund shares trade on a stock exchange.             GDL Fund GDL                    .00 10.32 NA 1.1               Invesco Adv Mun Incm II VKI 12.30 10.92 -11.2 6.9
     a-The NAV and market price are ex dividend. b-The NAV is fully
     diluted. c-NAV is as of Thursday’s close. d-NAV is as of                    India Fund IFN                29.28 26.65 -9.0 13.6            Invesco Mun Incm Opps Tr OIA 7.42 6.67 -10.1 5.7
     Wednesday’s close. e-NAV assumes rights offering is fully                   Korea Fund KF                 44.77 40.42 -9.7 -4.8            Invesco Mun Opportunity VMO 13.74 12.22 -11.1 6.4
     subscribed. f-Rights offering in process. g-Rights offering announced.      Mexico Fund MXF               22.49 21.50 -4.4 -15.3           Invesco Municipal Trust VKQ 13.65 12.05 -11.7 6.6            BY JULIE WERNAU                                        companies turn to synthetic fi-                  cot Trading Co. in Memphis,
     h-Lipper data has been adjusted for rights offering. j-Rights offering      Morgan-Stanley Asia-Pac APF 17.88 15.69 -12.2 1.3              Invesco Qlty Mun Inco IQI 13.43 11.80 -12.1 6.4
     has expired, but Lipper data not yet adjusted. l-NAV as of previous
     day. o-Tender offer in process. v-NAV is converted at the                   MS China a Shr Fd CAF 41.81 31.81 -23.9 55.6                   Invesco Inv Grade Muni VGM 14.20 12.69 -10.6 6.7                                                                    bers. The U.S. is the world’s larg-              Tenn. “My contacts in Texas are
     commercial Rand rate. w-Convertible Note-NAV (not market)                   MS India Invest IIF           31.36 27.75 -11.5 21.6           Invesco Value Mun Incm Tr IIM 15.94 14.54 -8.8 5.8              Cotton prices are plumping up                       est cotton exporter.                             telling me that the crop is about
     conversion value. y-NAV and market price are in Canadian dollars.           New Germany GF                17.00 15.41 -9.4 5.6             MainStay DefinedTerm MMD 18.80 17.37 -7.6 6.3
     NA signifies that the information is not available or not applicable.       Nuveen Gl Equity Incm Fd JGV 14.52 12.73 -12.3 -6.9            MFS Munl Inco MFM              7.27 6.49 -10.7 6.1           as investors await word on the                            “South Texas is a traditional                 two weeks late. We can catch up
     NS signifies fund not in existence of entire period.
     12 month yield is computed by dividing income dividends paid                Swiss Helvetia Fund SWZ 13.91 12.00 -13.7 -1.9                 NuvAMTFreeMuniIncm NEA 14.62 12.81 -12.4 6.1                 state of the next U.S. crop.                           source of early, new-crop bales,                 two weeks in no time with the
                                                                                 Templeton Dragon TDF 29.31 25.05 -14.5 16.2                    NuvDivAdvMuniIncm NVG 15.75 13.67 -13.2 5.2
     (during the previous twelve months for periods ending at month-
     end or during the previous fifty-two weeks for periods ending at            Templeton Emerging EMF 16.65 14.62 -12.2 -13.2                 Nuveen Div Fnd NAD 15.15 13.63 -10.0 6.3
                                                                                                                                                                                                                Heavy rains in April and May                        with a reputation for high fiber                 heat we’re getting now.”
     any time other than month-end) by the latest month-end market
     price adjusted for capital gains distributions.
                                                                                 Thai Fund Inc TTF              9.56 8.31 -13.1 -2.3            Nuveen Div Fnd 2 NXZ 15.49 13.44 -13.2 6.1                   delayed cotton planting in sev-                        quality,” John Robinson, a pro-                     At the same time, China, the
                                                              Source: Lipper     Voya Emg Mkts Hi Incm Div IHD 11.21 9.87 -12.0 -14.1           Nuveen Div Adv NZF            15.39 13.50 -12.3 5.4          eral states, including top pro-                        fessor and specialist in cotton                  world’s biggest cotton consumer,
                                                                                 Voya Infr Indls & Matls IDE 16.76 14.86 -11.3 -11.3            Nuveen Enhncd Mun Val Fd NEV 15.37 14.62 -4.9 6.2
                          Friday, June 26, 2015                                  Wells Fargo Gl Div Opp EOD 8.00 7.05 -11.9 -8.1                Nuveen Invest Qual Muni NQM 15.78 14.77 -6.4 6.3             ducer Texas. Investors are bet-                        marketing at Texas A&M Univer-                   is buying fewer bales as it tries
                                                                      52 wk
                                                 Prem                    Ttl                                              Prem 12 Mo            Nuveen Muni Advantage Fd NMA 15.06 13.03 -13.5 5.9                               ting the land                      sity in College Station, said in a               to whittle down strategic stock-
                                                                               Fund (SYM)                      NAV Close /Disc Yld              NuveenMuniIncoOpp Fd NMZ 13.52 13.16 -2.7 6.7
     Fund (SYM)                      NAV Close /Disc                    Ret
                                                                                                                                                Nuveen Muni Mkt Opp NMO 14.88 12.96 -12.9 6.0
                                                                                                                                                                                                             COMMODITIES that               was                     recent note. If crop yields in                   piles acquired a few years ago,
                                                                               U.S. Mortgage Bond Funds
     General Equity Funds
                                                                                 Blackrock Income Trust BKT 7.07 6.38 -9.8 6.3                  Nuveen Mun Opportunity Fd NIO 15.29 13.60 -11.1 6.2                              planted with                       Texas are lower or if the harvest                while the industry is dealing
       Adams Divers Equity Fd ADX 16.47 14.06 -14.6                    11.1
       Central Securities CET 26.17 21.63 -17.3                        -0.2      Brookfield TR Fund HTR 25.88 22.04 -14.8 9.8                   Nuveen Muni Value Fund NUV 10.04 9.61 -4.3 4.3                                   cotton     will                    is delayed and the maturing crop                 with lagging demand for cotton
                                                                                 Nuveen Mtg Oppy Term Fd JLS 25.89 22.74 -12.2 6.6              Nuveen Performance Plus NPP 15.78 14.06 -10.9 6.4
       CohSteer Opprtnty Fd FOF 13.76 12.29 -10.7                      -1.8
                                                                               Investment Grade Bond Funds                                      Nuveen Premium Inco Muni NPI 15.03 13.08 -13.0 6.2           fall short of the 9.5 million acres                    gets too wet from seasonal rains,                as consumers seek synthetic fab-
       EtnVnc TaxAdvDiv EVT 22.73 20.01 -12.0                           3.8                                                                     Nuveen Prem Inco Muni 2 NPM 15.12 13.36 -11.6 6.3            U.S. farmers had said they in-                         “it could create a temporary                     rics that wick away moisture.
       Gabelli Dividend & Incm GDV .00 21.15 NA                         2.0      AllianceBrnstn IncoFd ACG 8.30 7.43 -10.5 5.3
                                                                                                                                                Nuveen Prem Inco Muni 4 NPT 14.11 13.13 -6.9 6.2
       Gabelli Equity GAB              .00 6.40 NA                     -3.7      Blackrock Core Bond Tr BHK 14.25 12.54 -12.0 8.0
                                                                                                                                                Nuveen Premier Muni Inc NPF 14.71 13.06 -11.2 6.4
                                                                                                                                                                                                             tended to sow with cottonseed.                         shortage of quality fiber,” he                      Still, cotton prices could find
                                                                                 BlkRk Credit Alloc Incm BTZ 14.72 12.74 -13.5 7.3
       Genl American Investors GAM 41.85 35.50 -15.2                    6.1
                                                                                 John Hancock Income Secs JHS 15.33 13.88 -9.5 6.3              Nuveen Quality Income NQU 15.30 13.34 -12.8 6.0              The U.S. Department of Agricul-                        said.                                            support from expectations that
       HnckJohn TxAdv HTD 22.48 19.92 -11.4                             2.2                                                                     Nuveen Quality Muni Fund NQI 14.65 12.68 -13.4 5.1
       Liberty All Star USA           6.78 5.86 -13.6                   5.1      MFS Inc Tr MIN                 5.16 4.62 -10.5 9.6                                                                          ture will report the planted acres                        The harvest is likely to run                  less of this year’s U.S. crop will
                                                                                 WstAstClymr InfLnkd Fd WIW 12.80 11.16 -12.8 3.1               Nuveen Select Quality NQS 15.27 13.36 -12.5 5.8
       Royce Micro-Cap RMT 11.02 9.40 -14.7                             0.2
                                                                                 WstAssetClymr InflLnk Sec WIA 12.90 11.18 -13.3 3.2            PIMCO MuniFd PMF              12.80 13.81 +7.9 6.6           on Tuesday.                                            behind schedule due to the late                  be carried over than originally
       Royce Value Trust RVT 16.18 14.06 -13.1                         -0.5                                                                     Pimco Muni Inc II PML 11.97 11.63 -2.8 6.3                      Cotton for December delivery                        start of the planting. The spring                anticipated, analysts said. Net
                                                                               Loan Participation Funds
       Source Capital SOR            80.87 73.29 -9.4                  11.4                                                                     PIMCO Muni Inc III PMX 10.72 10.68 -0.4 6.7
                                     25.28 21.51 -14.9                  9.4      Apollo Sr Fltg Rate Fd AFT NA.00 17.84 NA 6.8                                                                               rose 5.6% for the latest week to                       rains, which ended a four-year                   export sales in the week ended
       Tri-Continental TY                                                                                                                       PionrMuniAdv Tr MAV 12.18 12.60 +3.4 8.2
                                                                                 BlkRk Fltg Rate Inc Strat FRA 15.14 13.56 -10.4 5.9
       Zweig Fund ZF                 17.21 14.96 -13.1                  2.5
                                                                                 Blkrk FltRt InTr BGT          14.56 12.91 -11.3 6.1            Pionr Muni HI Tr MHI 13.08 12.22 -6.6 8.1                    67.51 cents a pound, the highest                       drought in Texas, also made it                   June 18 reached 60,500 running
     Specialized Equity Funds                                                                                                                   Putnam Tr PMM                  7.90 7.12 -9.9 6.0
       Adams Natural Rscs Fd PEO 26.69 22.65 -15.1                     -22.0
                                                                                 Blackstone GSO Sr Float BSL 18.32 17.22 -6.0 6.4                                                                            close since April 30. Friday’s                         difficult for growers to get the                 bales of cotton, and cumulative
                                                                                 EtnVncFltRte IncoTr EFT 15.46 14.01 -9.4 6.2                   Putnam Muni Opportunities PMO 13.09 11.82 -9.7 5.9
       AllnzGI NFJ Div Interest NFJ 16.73 15.30 -8.5                    -8.9
                                                                                 EatonVnc SrFltRate EFR 15.07 13.89 -7.8 6.4                    Wstrn Asset Mngd Muni MMU 14.28 13.50 -5.5 2.3               3.3% jump was the biggest daily                        seed into the fields. As of June                 sales to date are already greater
       AlpnGlblPrProp AWP             7.65 6.60 -13.7                   -3.3
       ASA Gold & Prec Metals ASA 11.13 9.87 -11.3                     -31.3
                                                                                 Eaton Vance Sr EVF             7.05 6.25 -11.3 6.2             Western Asset Mun Tr Fund MTT 22.64 22.41 -1.0 1.8           gain in two months for the most                        21, 94% of the planned U.S. cot-                 than the USDA’s export estimate
                                                                                 1st Tr Sr Fltg Rt Fd II FCT NA.00 13.33 NA 6.0               Single State Muni Bond
       BlkRk Enh Cap Inco CII 16.02 15.21 -5.1                          11.7
                                                                                 Invesco Credit Opps Fund VTA 13.38 11.66 -12.9 7.4             BlackRock CA Municipal Tr BFZ 15.71 14.43 -8.1 5.7           actively traded cotton contract                        ton acreage had been sown,                       of 10.7 million bales.
       BlkRk Engy Res Tr BGR 19.50 18.42 -5.5                          -22.3                                                                    BlkRk MuniHldgs CA Qlty MUC 15.61 13.96 -10.6 5.7            on the ICE Futures U.S. exchange.                      while in previous years planting                    Plexus Cotton, a trader in Liv-
                                                                                 Invesco Senior Income Tr VVR 4.99 4.58 -8.2 6.8
       BlackRock Enh Eq Div Tr BDJ 9.07 8.03 -11.5                       2.9                                                                    Blkrck MunHl NJ Qlty MUJ 15.44 13.30 -13.9 6.7
       Blackrock Global Trust BOE 15.84 14.01 -11.6                      1.4
                                                                                 Nuveen Credit Strt Inc Fd JQC 9.96 8.64 -13.3 6.0                                                                              The surge reflects hopes that                       was complete at this point.                      erpool, England, said some mills
                                                                                 NuvFloatRteInco Fd JFR 12.12 10.78 -11.1 6.4                   BlRk MuHldg NY Qlty MHN 14.62 13.55 -7.3 5.9
       BlkRk Intl Grwth&Inco BGY 7.96 7.47 -6.2                         -0.1     Nuv Float Rte Opp Fd JRO 12.18 10.95 -10.1 6.6                 BlkRk MuniYld CA Fd MYC 16.18 15.01 -7.2 5.8                 the gap between U.S. cotton pro-                          However, traders said a                       may need to tap bales left over
       BlackRck Rscs Comm Str Tr BCX 10.94 9.34 -14.6                  -17.8
       BlackRock Utility & Infr BUI 21.32 18.36 -13.9                   -5.2
                                                                                 Pionr Float Rte Tr PHD 12.80 11.40 -10.9 5.8                   BlkRk MuniYld CA Quality MCA 15.94 14.43 -9.5 5.7            duction and demand will narrow.                        smaller number of acres doesn’t                  from the previous U.S. crop while
                                                                                 Voya Prime Rate Trust PPR 5.91 5.32 -10.0 6.2                  BlkRk MuniYld MI Qlty MIY 15.31 13.38 -12.6 6.3
       CBREClarionGlblRlEstIncm IGR 9.47 7.99 -15.6                     -5.5   High Yield Bond Funds                                            BlRk Muyld NY Qlty MYN 13.97 13.04 -6.7 5.9                  The USDA has predicted the U.S.                        necessarily mean less cotton.                    they wait for the next harvest.
       Central Fund Of Canada CEF 12.63 11.72 -7.2                     -18.3     AllianceBernstein Glbl AWF 13.80 11.95 -13.4 7.7               Eaton Vance CA Mun Bd EVM 12.58 11.22 -10.8 5.8              would produce less cotton in the                          “You’d have to lose a million                 The USDA had predicted that 4.4
       Central GoldTrust GTU 43.10 41.12 -4.6                          -13.0     BlackRock Corp Hi Yd Fd HYT 12.59 10.76 -14.5 8.8              Invesco CA Value Mun Incm VCV 13.38 12.26 -8.4 6.1
       ClearBridge Engy MLP Fd CEM 25.95 23.69 -8.7                    -15.9                                                                    Invesco PA Value Mun Incm VPV 14.17 12.08 -14.7 6.6
                                                                                                                                                                                                             year ahead than in the current                         acres [to see a significant decline              million bales would be left when
                                                                                 BlkRk Debt Strat Fd DSU 4.23 3.61 -14.7 7.8
       Clearbridge Engy MLP Opp EMO 22.48 19.16 -14.8                  -19.6     BlackRockDurInco Tr BLW 17.39 15.21 -12.5 8.0                  Invesco Inv Grade NY Muni VTN 14.76 13.36 -9.5 6.0           year, but demand will remain                           in production], and there is no                  the crop year ends July 31, but
       Clearbridge Engy MLP TR CTR 21.41 18.44 -13.9                   -17.7
       ChnStrGbInc INB               11.87 11.56 -2.6                   -0.1
                                                                                 Credit Suisse High Yld DHY 2.88 2.53 -12.2 10.3                Nuveen California AMT NKX 15.42 14.12 -8.4 5.8               near the lowest in more than a                         way that’s happened,” said                       that number could drop if mills
                                                                                 Deutsche Hi Incm Opps Fd DHG 15.75 14.58 -7.4 7.1              Nuveen CA Div Fnd NAC 15.35 14.41 -6.1 6.2
       Cohen & Steers Infra UTF 25.03 21.25 -15.1                       -6.7     Dreyfus Hi Yld Fd DHF 3.79 3.33 -12.1 9.8                      NuveenCA 3 NZH                14.21 12.73 -10.4 6.0          decade as apparel and textile                          Bobby Walton, president of Wal-                  start buying.
       Cohen & Steers Qual Inc RQI 12.54 10.73 -14.4                     3.1     Fst Tr Hi Inc Lg/Shrt Fd FSD NA.00 15.64 NA 7.8                Nuveen CA Muni Value NCA 10.31 10.27 -0.4 4.5
       CohnStrsPfdInco RNP 20.71 17.42 -15.9                             4.1     Neuberger Berman HYS NHS 13.72 11.71 -14.7 8.0                 NuveenMDPremiumIncomeNMY 14.46 12.32 -14.8 5.3
       Duff & Phelps DNP              8.98 10.27 +14.3                   5.8     NexPoint Credit Strat Fd NHF 8.40 7.45 -11.3 19.5              Nuveen Pa Investment Qual NQP 15.36 13.10 -14.7 6.2
       Duff&PhelpsGblUtilIncFd DPG 20.92 18.00 -14.0                   -12.0     Pioneer High Income Trust PHT 11.85 11.43 -3.5 12.3            Nuveen VA Premium Income NPV 14.36 13.32 -7.2 5.5
                                                                                                                                                                                                             ADVERTISEMENT
       Eaton Vance Eqty Inco Fd EOI 14.87 13.43 -9.7                     4.9     Prudentl Sh Dur Hi Yd Fd ISD 17.65 15.26 -13.5 10.0            Pimco Calif Fund PCQ 14.03 14.10 +0.5 6.1

                                                                                                                                                                                                             Legal Notices
       Eaton Vance Eqty Inco II EOS 15.00 14.05 -6.3                    11.9     Wells Fargo Adv Fund EAD 9.55 8.33 -12.8 9.3                   PimcoCA PCK                    8.58 9.37 +9.2 6.6
       EtnVncRskMngd ETJ 11.94 10.70 -10.4                               2.2     Wstrn Asset Glbl Hi Inco EHI 12.02 10.38 -13.6 10.5
       Etn Vnc Tax Mgd Buy-Write ETB 16.38 15.68 -4.3                    5.6                                                                                                                   52 wk
                                                                                 Wstrn Asset High Inco II HIX 8.35 7.46 -10.7 10.3                                                        Prem    Ttl
       Eaton Vance BuyWrite Opp ETV 15.20 15.08 -0.8                    10.7     Wstrn Asset Opp Fd HIO 5.97 5.15 -13.7 8.0
       Eaton Vance Tax-Mng Div ETY 12.50 11.50 -8.0                      7.5
                                                                                                                                              Fund (SYM)                      NAV Close /Disc Ret            To advertise: 800-366-3975 or WSJ.com/classiﬁeds
                                                                                 West Asst HY Def Opp Fd HYI 17.86 15.49 -13.3 7.9
       Eaton Vance Tax-Mngd Opp ETW 12.59 11.93 -5.2                     2.3     Wstrn Asset Mngd High Inc MHY 5.77 4.97 -13.9 8.0            General Equity Funds
       EtnVncTxMngGlDvEqInc EXG 10.43 9.86 -5.5                          5.7   Other Domestic Taxable Bond Funds                                Alternative Strategies:C NA.00 NA.00 NA            N
       Fiduciary/Clymr Opp Fd FMO 23.22 22.77 -1.9                     -15.5     Babson Cap Corp Inv MCI NA.00 15.90 NA 3.7                     Franklin Mutual Rec:A 11.67 NA.00 NA -5.1                                                                                         CLASS ACTIONS
       FT Energy Inc & Growth Fd FEN .00 32.13 NA                       -5.6     BlackRock Build Am Bd Tr BBN 22.00 19.83 -9.9 7.4              Recov Adv                     11.76 NA.00 NA -4.9
       FstTrEnhEqtIncFd FFA            .00 14.58 NA                      6.9     Doubleline Oppor Credit DBL NA.00 23.05 NA 8.3                 RecoveryC                     11.51 NA.00 NA -5.8
       First Tr Engy Infr Fd FIF .00 20.51 NA                           -2.7     Duff & Phelps Utl & Cp Bd DUC 10.39 9.36 -9.9 7.0              Little Harbor MS Comp NA.00 NA.00 NA               N
       GAMCOGlblGoldNatRscs&Inc GGN .00 6.72 NA                        -30.8     EtnVncLtdFd EVV               15.79 13.56 -14.1 8.6          Specialized Equity Funds
       GAMCO Nat Rsc Gold & Incm GNT .00 7.65 NA                       -25.6     Franklin Ltd Duration IT FTF NA.00 11.75 NA 6.5                Corsair Opportunity:I 10.32 NA.00 NA              NS                                                                             U^Z?U R61V;^
       John Hancock Finl Opps Fd BTO 27.20 27.25 +0.2                   23.9     Guggenh Bond Mneg Dur Tr GBAB 22.70 20.55 -9.5 7.6             Griffin Inst Access RE NA.00 NA.00 NA             NS
       Kayne Anderson Enrgy Dev KED .00 25.54 NA                       -23.7     MFS Charter MCR                9.82 8.67 -11.7 8.0             Resource RE Div Inc:C NA.00 NA.00 NA              NS                                        4B D#: ,#:@=< . +3<=#"C 93& 6:2C 1(+96/0 #A +96 >A#":$<*
       Kayne Energy TR Fd KYE .00 21.81 NA                             -27.0     MFS Multimkt MMT               7.05 6.21 -11.9 6.4             Resource RE Div Inc:D NA.00 NA.00 NA              NS
       Kayne Andrsn MLP Inv KYN .00 31.68 NA                           -13.4     Nuveen Build Am Bd Fd NBB 21.29 19.21 -9.8 6.8                 Resource RE Div Inc:I NA.00 NA.00 NA              NS
                                                                                                                                                                                                                                                     . +53?? .$<;#% 7C<<5C'C%< -3& .BBC$< D#:)
       Kayne Andrsn Midstr Engy KMF .00 30.25 NA                       -20.0     PIMCO Corporate & Incm PTY NA.00 14.26 NA 14.7                 Resource RE Div Inc:T NA.00 NA.00 NA              NS
       Macquarie Glbl Infrstrctr MGU 27.73 24.15 -12.9                  -0.3     PIMCO Corporate & Incm PCN NA.00 14.10 NA 11.2                 Resource RE Div Inc:U NA.00 NA.00 NA              NS                 +96 >A#":$<? ;%$5:"C 6C5C8;?;#%? #A +#'!:<CA -#%;<#A? <=3< $#%<3;% +3<=#"C 93& 6:2C?
       Neubrgr Brm Rl Est Sec Fd NRO 5.76 4.80 -16.7                     2.3     PIMCO HiInco PHK              NA.00 9.52 NA 12.7               Resource RE Div Inc:W NA.00 NA.00 NA              NS
       Nuveen Engy MLP Fd JMF 19.32 16.70 -13.6                        -19.0     PIMCO Inco Str Fd PFL NA.00 10.74 NA 10.8                      SharesPost 100                26.18 NA.00 NA 15.3             ? >)<<`)E)D< #I> G))D @)I-#)+ ]!<# I %@C:B C' +)')D+ID<>                          !D B@C8!+!D% -)@<I!D !D'C@EI<!CD IGC:< <#) I``)%I<!CD> !D
       Nuv NASDAQ 100 Dyn Over QQQX 20.21 NA.00 NA                       NA      Pimco Inco Strat Fd II PFN NA.00 9.69 NA 10.8                  Wildermuth Endowment Str NA.00 NA.00 NA           NS
       Nuveen Real Estate Fd JRS 11.16 10.23 -8.3                       -0.4     Putnam Mas Inco PIM 5.34 4.80 -10.1 6.4
                                                                                                                                                                                                              !D I -`I>> I-<!CD `I]>:!< !D8C`8!D% ;31> ID+ ;31                                  <#) ;CEB`I!D<K TCD)Y ]!`` DC< G) +!><@!G:<)+ <C ;`I>>
                                                                                                                                              Income Preferred Stock Funds
       Reaves Utility Fund UTG 30.33 29.13 -4.0                          3.3     Putnam Premier PPT             5.83 5.14 -11.8 5.9             CLA Strategic Alloc XSAFX NA.00 NA.00 NA          NS          5@C+:-<>K 1#!> !> <#) )!%#<# >)<<`)E)D< <C +I<)K ;31                              E)EG)@> I< <#!> <!E)K 1#) `I]Y)@> ]!`` B:@>:) <#)
       Tekla Hlthcr Investors HQH 35.83 36.31 +1.3                      49.9     Wells Fargo Multi Sctr ERC 15.03 12.76 -15.1 8.9
       Tortoise Engy Ind Fd NDP 20.84 18.39 -11.8                      -28.9   World Income Funds
                                                                                                                                                MultiStrat Gro & Inc:C NA.00 NA.00 NA             NS          ><ID+> 'C@ S;I<#C+) 3IY 1:G)K7 S;I<#C+) 3IY 1:G)                                  `I]>:!< I%I!D>< <#) C<#)@ 9)')D+ID<> <C >)) !' IDY ':<:@)
                                                                                                                                                MultiStrat Gro & Inc:I NA.00 NA.00 NA             NS
       Tortoise Energy TYG           42.51 37.73 -11.2                 -19.6     Abeerden Asia-Pacific FAX 5.81 4.95 -14.8 6.4                  MultiStrat Gro & Inc:L NA.00 NA.00 NA             NS
                                                                                                                                                                                                              P;31N 5@C+:-<>7 !D-`:+) ;I<#C+) 3IY 1:G)> ID+                                     >)<<`)E)D<> C@ d:+%E)D<> -ID G) CG<I!D)+ !D <#) -I>) ID+
       Tortoise MLP Fund NTG 25.40 21.80 -14.2                         -22.4     Etn Vnc Short Dur Fd EVG 16.00 13.86 -13.4 7.4
       Voya Gl Equity Div IGD 9.30 8.35 -10.2                           -4.1                                                                  Convertible Sec's. Funds                                        O:!5"%& 879&2'45 4"=4 '9:4=!: = 3=4"9&% +=H )2<% 52'"                             4"%: <% &!547!<24%& 49#%4"%7M 49 7%&2'% %[8%:5%5?
                                                                                 First Tr/Abrdn Glbl Opp FAM NA.00 10.94 NA 9.8                 Calmos Dyn Conv and Inc CCD 23.84 22.91 -3.9      NS
       Voya Natural Rscs Equity IRR 8.76 7.89 -9.9                     -23.7     Global High Income Fd GHI 9.91 8.39 -15.3 7.2                                                                                I> 1)`)8!>!CD> ID+ ;CEB:<)@ TCD!<C@>K
     Income Preferred Stock Funds                                                Legg Mason BW Glbl Incm BWG 16.85 14.53 -13.8 7.2
                                                                                                                                              World Equity Funds                                                                                                                                                  $#50 54) 9" 4!%#021
       Calamos Strat Fd CSQ 12.37 11.19 -9.5                             2.2     MS EmMktDomDebt EDD 10.29 8.69 -15.5 10.6                      BMO LGM Front ME               9.28 NA.00 NA -6.2                                  $#50 !2 0#!2 :5&2/!0 537/01
       Cohen & Steers Dur Pfd LDP 25.77 23.00 -10.7                     -0.7     MS Emerging Mkts Debt MSD 10.73 9.03 -15.8 6.0                 EGA Frontier Dvsfd Core 26.56 NA.00 NA -5.2                                                                                                     V' YC: ]!># <C @)EI!D I E)EG)@ C' <#) 2)<<`)E)D< ;`I>>
       Cohen & Strs Sel Prf Inco PSF 26.99 23.95 -11.3                   0.0     PIMCO Dynamic Income Fund PDI NA.00 29.19 NA 13.9                                                        Prem 12 Mo          1#) `I]>:!< I``)%)> <#I< 9)')D+ID<> ID+ ;CL;CD>B!@I<C@>                           YC: +C DC< D))+ <C <Ib) IDY I-<!CD I< <#!> <!E)K V' YC: +C
       Flaherty & Crumrine Pfd FFC .00 18.88 NA                          4.4     PIMCO Income Opportunity PKO NA.00 24.40 NA 11.7             Fund (SYM)                      NAV Close /Disc Yld
       John Hancock Pfd Income HPI 21.41 19.45 -9.2                      3.1     PIMCO Strat Income Fund RCS NA.00 8.59 NA 11.1               U.S. Mortgage Bond Funds
                                                                                                                                                                                                              %:#=#%& !: =: 2:M=K$2M '9:58!7='H 49 O[M 7=!5%M ;=!:4=!:                          :94 K=:4 49 <% M%#=MMH <92:& <H 4"% 5%44M%;%:4M H92 ;254
       John Hancock Pfd II HPF 21.30 19.37 -9.1                          1.8     Stone Harbor Em Mkts Fd EDF 16.40 15.06 -8.2 12.6              Vertical Capital Income NA.00 NA.00 NA 4.0                    C@ ><IG!`!W) <#) B@!-)> C' ;31>K 5`I!D<!''> ':@<#)@ -`I!E                         %['M2&% H9275%M$ !: K7!4!:# <H 62#254 .HM ,H.& 97 H92
       John Hancock Pfd Inc III HPS 18.81 16.66 -11.4                    1.5     Templeton Emerging TEI 12.44 10.72 -13.8 7.1                 Loan Participation Funds
       JHancock Pr Div PDT           14.81 13.17 -11.1                   5.6     Templeton Global GIM 7.86 6.97 -11.3 8.7                                                                                     <#I< +!@)-< B:@-#I>)@> C' <)`)8!>!CD> ID+ ECD!<C@> <#I<                           K!MM :94 <% =<M% 49 52%M 97 '9:4!:2% 49 52%M 4"% *%44M!:#
                                                                                                                                                504 Fund                       9.91 NA.00 NA 1.3
       LMP Cap & Inco Fd SCD 17.79 15.47 -13.0                          -6.1     Wstrn Asset Emerg Mkts ESD 17.72 15.07 -15.0 8.8               Invesco Sr Loan A              6.71 NA.00 NA 5.2              -CD<I!D I -I<#C+) @IY <:G) '@CE <#) 9)')D+ID<> EIY                                9)')D+ID<> IGC:< <#) `)%I` -`I!E> !D <#!> -I>)K
       Nuveen Preferred & Incm JPI 24.92 22.45 -9.9                      4.0     Wstrn Asset Emerg Mkt II EMD 12.62 10.72 -15.1 8.4             Invesco Sr Loan B              6.71 NA.00 NA 5.2
       Nuveen Preferred Inc Opp JPC 10.44 9.27 -11.2                     3.4                                                                                                                                  @)-C8)@ 'C@ <#) )'')-< <#I< <#) -I<#C+) @IY <:G) -CD>B!@I-Y
                                                                                 Wstrn Asset Gl Def Opp Fd GDO 19.54 17.14 -12.3 7.6            Invesco Sr Loan C              6.72 NA.00 NA 4.5                                                                                                V' YC: ]!># <C -CEE)D< CD C@ +!>I%@)) ]!<# IDY I>B)-<
       Nuveen Quality pf JTP 9.09 7.87 -13.4                             1.3   National Muni Bond Funds                                         Invesco Sr Loan IB             6.72 NA.00 NA 5.5              #I+ CD <#) B@!-)> C' <)`)8!>!CD> ID+ ECD!<C@>K 5`I!D<!''>
       Nuveen Fd2 JPS                 9.73 8.38 -13.9                    0.7     AllianceBrnstn NtlMun AFB 14.27 13.33 -6.6 6.3                                                                                                                                                                 9$ 4"% 879895%& 5%44M%;%:4M H92 ;254 &9 59 !: K7!4!:# :9
       TCW Strategic Inco Fund TSI .00 5.21 NA                          -2.5                                                                    Invesco Sr Loan IC             6.72 NA.00 NA 5.3              =MM%#% 4"=4M =5 7%52M4 9$ 4"% 2:M=K$2M '9:58!7='HM 4"%H =:&
                                                                                 Blackrock Invest BKN 15.73 14.69 -6.6 6.2                      Invesco Sr Loan Y              6.72 NA.00 NA 5.5                                                                                                M=4%7 4"=: 62#254 .HM ,H.&? )"% 5%44M%;%:4 =#7%%;%:4M
       Zweig Total Return ZTR 15.04 13.12 -12.8                         -0.0     BlackRockMuni 2020 BKK 16.09 15.59 -3.1 4.1                                                                                  C<#)@ +!@)-< B:@-#I>)@> BI!+ EC@) 'C@ ;31 5@C+:-<> <#ID
     Convertible Sec's. Funds                                                    BlackRock Municipal Trust BFK 14.57 13.47 -7.5 6.4
                                                                                                                                                Voya Senior Income:A 13.11 NA.00 NA 4.8                                                                                                         =M9:# K!4" &%4=!M5 9: "9K 49 9<O%'4 49 !4M !5 =0=!M=<M% =4
                                                                                                                                                Voya Senior Income:B 13.07 NA.00 NA 4.3                       <#)Y ]C:`+ #I8) IG>)D< <#) -CD>B!@I-YK 9)')D+ID<> +)DY
       AdvntClymrFd AVK              18.86 16.86 -10.6                  -4.3     BlackRockMuni BLE             15.21 14.22 -6.5 6.7
                                                                                                                                                Voya Senior Income:C 13.09 NA.00 NA 4.3                                                                                                         ]]]K;319!@)-<5:@-#I>)@?D<!<@:><2)<<`)E)D<K-CEK 1#)
       AllianzGI Conv & Incm NCV 8.10 8.03 -0.9                        -14.0     BlackRockMuni Tr BYM 15.10 13.72 -9.1 6.2                                                                                    5`I!D<!''>4 -`I!E>K
       AllianzGI Conv & Incm II NCZ 7.23 7.33 +1.4                     -16.3     BlkRk MuniAssets Fd MUA 13.93 13.55 -2.7 5.4                   Voya Senior Income:I 13.08 NA.00 NA 5.1                                                                                                         0K2K 9!><@!-< ;C:@< 'C@ <#) RC@<#)@D 9!><@!-< C' ;I`!'C@D!I
                                                                                                                                                Voya Senior Income:W 13.12 NA.00 NA 5.1                                                                                                         K!MM "9M& = J=!7:%55 X%=7!:# =4 .HaHH =?;? 9: .'49<%7 ,*M
       AllianzGI Equity & Conv NIE 22.56 19.74 -12.5                     5.5     BlkRk Munienhanced MEN 11.98 11.15 -6.9 6.3
                                                                                                                                              High Yield Bond Funds
                                                                                                                                                                                                                              $#7*2 !8.:/+)+ !8 0#) 2)00:)9)801
       Calamos Conv Hi Inco Fd CHY 13.76 NA.00 NA                        NA      BlkRk MuniHldgs Inv MFL 15.07 13.83 -8.2 6.2
       Calamos CHI                   12.94 12.26 -5.3                   -4.8     BlkRk MuniHldgs Qlty II MUE 14.33 12.96 -9.6 6.4               WA Middle Mkt Inc WMF 885.94 NA.00 NA             NS                                                                                            ,H.& =4 4"% (?*? 1!547!'4 39274 $97 4"% C974"%7: 1!547!'4
                                                                                                                                              Other Domestic Taxable Bond Funds                               )"% 5%44M%;%:4 !:'M2&%5 =MM 8%759:5 =:& %:4!4!%5 K"9M
     World Equity Funds                                                          BlkRk MuniVest MVF             9.98 9.61 -3.7 6.4                                                                                                                                                              9$ 3=M!$97:!=M (&H I9M&%: I=4% 60%?M *=: J7=:'!5'9M
       Aberdeen Greater China Fd GCH 12.15 10.17 -16.3                   0.2     BlkRk MuniVest II MVT 15.69 14.91 -5.0 6.7                     Capstone Church Capital 17.26 NA.00 NA 5.0                    <%4K%%: E=7'" .M .cc& =:& C90%;<%7 ,&M ,HH"M &!7%'4MH
       Aberdeen Lat Amer LAQ 23.23 21.00 -9.6                          -25.7     BlkRk MuniYield MYD 14.95 13.96 -6.6 6.5                       GL Beyond Income               6.66 NA.00 NA      NE                                                                                            36 c(.H,M 39274799; .M ."4" JM997? )"% "%=7!:# ;=H
                                                                                                                                                                                                              B:@-#I>)+ I ;31 5@C+:-< !D <#) 0D!<)+ 2<I<)> '@CE IDY
       Alpine Tot Dyn Div AOD 10.34 8.82 -14.7                           6.5     BlkRk MuniYld Quality MQY 15.74 15.00 -4.7 6.3                 Palmer Square Opp Income NA.00 NA.00 NA           NS                                                                                            G) EC8)+ <C I +!'')@)D< +I<) C@ <!E) ]!<#C:< I++!<!CDI`
       Calamos Glbl Dyn Inc CHW 9.79 8.77 -10.4                         -1.4     BlkRk MuniYld Qlty II MQT 13.84 12.57 -9.2 6.5                 Resource Credit Inc:A          9.95 NA.00 NA      NS          &%$%:&=:4 97 52<5!&!=7H 97 =$OM!=4% 4"%7%9$M 97 =:H '9@
       Cdn Genl Inv CGI              28.05 21.99 -21.6                  20.1                                                                    Resource Credit Inc:C          9.94 NA.00 NA      NS                                                                                            :94!'%M 59 !4 !5 = #99& !&%= 49 '"%'N 4"% 'M=55 K%<5!4% $97
                                                                                 BlRkMunyldQltyIII MYI 14.65 13.88 -5.3 6.3                                                                                   -CD>B!@I<C@ PS2)<<`)E)D< ;`I>>7NK
       Ctrl Europe Russia Fd CEE 23.69 21.00 -11.4                     -25.1     Deutsche Mun Income Tr KTF 13.37 12.72 -4.9 6.3                Resource Credit Inc:D          9.94 NA.00 NA      NS                                                                                            !D'C@EI<!CDK
       China Fund CHN                23.61 20.30 -14.0                  16.9     Dreyfus Muni Income DMF 9.44 8.87 -6.0 6.6                     Resource Credit Inc:I          9.96 NA.00 NA      NS                          $#7 54) 0#) ,)00:!8% ()')8+58021
       Clough Glbl Eqty Fd GLQ 16.71 15.03 -10.1                         5.2     Dreyfus Strat Muni Bond DSM 8.42 7.71 -8.4 6.7                 Resource Credit Inc:T          9.94 NA.00 NA      NS                                                                                            )"% 39274 "=5 =889!:4%& 4"% M=K O7; 9$ *=0%7! _ *=0%7!M
       Clough Global Opp Fd GLO 14.10 12.37 -12.3                        5.5     Dreyfus Strategic Munis LEO 8.64 7.92 -8.3 6.6                 Resource Credit Inc:U          9.95 NA.00 NA      NS
       EtnVncTxAdvGblDiv ETG 18.42 17.16 -6.8                            4.9     Eaton Vance Mun Bd Fd EIM 13.65 12.11 -11.3 6.1                Resource Credit Inc:W 9.94 NA.00 NA               NS
                                                                                                                                                                                                              ? >)<<`)E)D< #I> G))D @)I-#)+ ]!<# 1#CE>CD 2? PDC]                                VD-K <C @)B@)>)D< 9!@)-< 5:@-#I>)@ ;`I>> E)EG)@> I>
                                                                                                                                                                                                              bDC]D I> 1)-#D!-C`C@ 2?N ID+ 1#CE>CD ;CD>:E)@                                     G:4%7!; F%=& 3M=55 392:5%M? 64 4"% J=!7:%55 X%=7!:#M
                                                                                                                                                                                                              LM%'479:!'5M G:'? B:9K N:9K: =5 )%'":!'9M97 (*6M                                  4"% 39274 K!MM '9:5!&%7 K"%4"%7 4"% 5%44M%;%:4 !5 $=!7M
       Borrowing Benchmarks                                                                                                                                                                                   G:'?A B'9MM%'4!0%MHM D)"9;59:/AF =:& )%'":9M9#!%5                                 @)I>CDIG`) ID+ I+)A:I<)K V' <#)@) I@) CGd)-<!CD> C@
                                                                                                                                                                                                              9!>B`IY> ?E)@!-I> UU; P'C@E)@`Y bDC]D I> 1#CE>CD                                  '9;;%:45M 4"% 39274 K!MM '9:5!&%7 4"%; =4 4"=4 4!;%? Q92
     Money Rates                                                                                                                                                                     June 26, 2015            9!>B`IY> ?E)@!-I> UU;N PS19?7NK 1#) -CEBID!)>
                                                                                                                                                                                                              I@) <C%)<#)@ @)')@@)+ <C I> <#) S2)<<`!D% 9)')D+ID<>K7
                                                                                                                                                                                                                                                                                                ;=H =88%=7 =4 4"% "%=7!:#M <24 &9:,4 "=0% 49? /% &9 :94
                                                                                                                                                                                                                                                                                                bDC] #C] `CD% <#)>) +)-!>!CD> ]!`` <Ib)K 5`)I>) +C DC<
     Key annual interest rates paid to borrow or lend money in U.S. and international markets. Rates below are a guide                                                                                        ? -CEB`)<) `!>< C' 9)')D+ID<> ID+ ;CL;CD>B!@I<C@>                                 -CD<I-< <#) ;C:@< IGC:< <#!> -I>)K
     to general levels but don’t always represent actual transactions.                                                                                                                                        !> >)< C:< !D <#) UCD% \C@E RC<!-) I8I!`IG`) I<
                                                                                                              Week          —52-WEEK—                                         Week           —52-WEEK—                                                                                          1#!> !> I 2:EEI@Y RC<!-)K                   \C@ EC@)
     Inflation                                                                                                                                                                                                ]]]K;319!@)-<5:@-#I>)@?D<!<@:><2)<<`)E)D<K-CEK
                                                                                                       Latest ago           High   Low                                 Latest ago            High   Low                                                                                         &%4=!M5M '=MM 49MM $7%% .@f""@,,(@*H$*M 0!5!4
                                May index           CHG FROM (%)               90 to 96 days            0.18         ...      ...      ...    Three month             -0.015 -0.014 0.209 -0.015                              $#50 +7)2 0#) 2)00:)9)80 647-!+)1                                 KKK?3+)1!7%'4-27'"=5%76:4!47254*%44M%;%:4?'9;M 97
                                   level           April '15 May '14           97 to 149 days           n.q.         ...      ...      ...    Six month                0.050 0.050 0.308 0.048
                                                                                                                                                                                                                                                                                                K7!4% 49 3+) 1!7%'4 *%44M%;%:4M '>9 I!M=7&! _ 39? FF3M
     U.S. consumer price index
                                                                               150 to 153 days          0.27         ...      ...      ...    One year                 0.162 0.166 0.490 0.158                1#) 1#CE>CDJ19? >)<<`)E)D< B@C8!+)> 'C@ <#) BIYE)D<
                                                                               154 to 154 days          n.q.         ...      ...      ...                                                                                                                                                      -?.? =9[ fHfHH*M -%4=M2;=M 36 c(c"&@fHH*?
     All items                    237.805               0.51          –0.0     155 to 179 days          0.27         ...      ...      ...    Hibor                                                           9$ ecM"&HMHHH !: '=5" 49 4"% *%44M%;%:4 3M=55? )"%
     Core                         242.119               0.13           1.7     180 to 180 days          0.32         ...      ...      ...    One month                0.239     0.238      0.253   0.205     2)<<`!D% 9)')D+ID<> I%@))+ <C -CCB)@I<) ]!<# <#) 5`I!D<!''>
                                                                               181 to 181 days          n.q.         ...      ...      ...    Three month              0.388     0.387      0.393   0.360
     International rates                                                       182 to 188 days          0.32         ...      ...      ...    Six month                0.542     0.539      0.551   0.534
                                                                               189 to 270 days          n.q.         ...      ...      ...    One year                 0.843     0.840      0.868   0.837                               BANKRUPTCIES
                                          Week             52-WEEK
                            Latest       ago            High     Low           Commercial paper (AA financial)                                                                  Value         52-WEEK
                                                                               90 days                  0.17      0.19      0.21     0.06                            Latest     Traded      High    Low
     Prime rates                                                                                                                                                                                                             QM /RW .MQ/W7 0/=/W0 ;=MP1.4/9L 95.1/
     U.S.                     3.25         3.25          3.25          3.25    Euro commercial paper                                          DTCC GCF Repo Index                                                                   U51 /RW 7Q0/1Q9/ 5U 7WO=,=1W
                                                                                                                                                                                                              S- )K;                                        Z !He+'K) DD
     Canada                   2.85         2.85          3.00          2.85    30 day                   n.q.      n.q.      n.q.     n.q.     Treasury           0.217         86.250 0.450 0.018             !#P jS2W SN5W8N#5S:N#P\ SN!Z\ #+ /4,\D Z !e(K N,Z D@[DXA@= _!77^



                                                                                                                                                                                                                                                                                                    LEGAL
     Euro zone                0.05         0.05          0.15          0.05    Two month                n.q.      n.q.      0.12     0.03     MBS                0.251         90.776 0.670 0.058                                        jKd',)(Z           Z _R,G-'Ea #L.G-G('K)KL^
     Japan                   1.475        1.475         1.475         1.475    Three month              n.q.      n.q.      0.15     0.01                                                                          ';31&9 ;8 $9*$-1'9 8;7 349 81-1'6 ;8 :7;;85 ;8 &-*1)
     Switzerland              0.50         0.50          0.51          0.50    Four month               n.q.      n.q.      0.21     0.00                                               Open Implied                 .69'97*- (*7 $*39 15 *06053 2!% /!2+% *3 +"!! :#)# 93,
                                                                               Five month               n.q.      n.q.      0.23     0.01                              Settle Change Interest Rate           4OW=0W /=PW M5/Q9W 5U /RW U5OO5,QMTZ
     Britain                  0.50         0.50          0.50          0.50                                                                                                                                     DZ :- Oe)MH B\ CXD@ _'HK 64&:!:!@A 7E:&4^\ 'HK jKd',)( fEKL %,E&-'e)a
     Australia                2.00         2.00          2.50          2.00    Six month                n.q.      0.02      0.25     0.02                                                                    +K'G'G,-( J,) )KEGKJ &-LK) MHe+'K) DD ,J 'G'EK DD ,J 'HK 3-G'KL 7'e'K( !,LK _'HK
                                                                                                                                              DTCC GCF Repo Index Futures


                                                                                                                                                                                                                                                                                                    NOTICES
                                                                                                                                                                                                             6;EA[>8?:)S 9@'&4^ G- 'HK 3-G'KL 7'e'K( "e-F)&+'Ma !,&)' J,) 'HK jG(')GM' ,J
     Overnight repurchase                                                      London interbank offered rate, or Libor                        Treasury Jun           99.810 -0.005          4871 0.190       jKEece)K _'HK 69@8>:4^Z 7K' J,)'H dKE,c e)K 'HK -e.K\ JKLK)eE 'eb GLK-'GfMe[
     U.S.                     0.19         0.11          0.27          0.05    One month              0.18660 0.18675 0.18875 0.15150         Treasury Jly           99.800 unch.           1317 0.200       'G,- -&.dK)\ e-L 'HK Me(K -&.dK) J,) KeMH ,J 'HK jKd',)(; 7W;/51H WQMH
                                                                               Three month            0.28175 0.28080 0.28785 0.22810         Treasury Aug           99.795 unch.           1983 0.205       9=0W M5FZ !eE jG%K S-'K)-e'G,-eE\ S-MZ\ ?D[D@XX@XD\ D@[DXA@= _!77^$ !eE jG%K
                                                                                                                                                                                                             :JJ(H,)K !,-')eM',)(\ S-MZ\ >?[X@BA=>=\ D@[DXA@< _!77^$ #JfEGe'KL Oe)G-K
                                                                               Six month              0.44640 0.44340 0.45205 0.31940
     U.S. government rates                                                     One year               0.77650 0.76635 0.79185 0.54115                               LATEST           Week      52-WEEK
                                                                                                                                                                                                             !,-')eM',)(\ S-MZ\ >B[D?C=?>=\ D@[DXA?X _!77^$ VEKK' 9G+KEG-K 7K)%GMK(\ S-MZ\
                                                                                                                                                                                                             >D[X<XCDXA\ D@[DXA?D _!77^$ U&EJ :JJ(H,)K !,-(')&M'G,-\ S-MZ\ >D[X<XCDX?\
                                                                                                                                                                 Offer Bid            ago     high   low     D@[DXA?B _!77^$ !jS 8K-KcedEK(\ A@[A=<A<=@\ D@[DXA?C _!77^Z
     Discount                                                                  Euro Libor
                                                                                                                                                                                                                                                                                                    ADVERTISE TODAY
                                                                                                                                                                                                                CZ :- R&-K CC\ CXD@\ 'HK !,&)' K-'K)KL e- ,)LK) hjZSZ @D>g _'HK 6;E> 7E:&
                              0.75         0.75          0.75          0.75
                                                                               One month              -0.079 -0.074        0.091 -0.080
                                                                                                                                              Eurodollars (mid rates)                                        5>'&>4^ K('edEG(HG-I MK)'eG- LKeLEG-K( J,) 'HK fEG-I ,J +),,J( ,J MEeG. G- 'HK
                                                                                                                                              One month          0.10         0.20   0.15    0.15 0.15       jKd',)(1 MHe+'K) DD Me(K(Z
     Federal funds                                                             Three month            -0.014 -0.011        0.181 -0.017                                                                         BZ 9&)(&e-' ', 'HK "e) je'K :)LK)\ eEE +K)(,-(\ K-'G'GK(\ e-L I,%K)-.K-'eE
                                                                               Six month               0.056 0.056         0.272 0.052        Two month          0.12         0.25   0.19    0.19 0.19       &-G'( cH, He%K e MEeG. ,) +,'K-'GeE MEeG. eIeG-(' e-a ,J 'HK jKd',)( 'He'
     Effective rate        0.1500 0.1500            0.1800           0.0800                                                                   Three month        0.15         0.30   0.23    0.23 0.23
                                                                               One year                0.169 0.174         0.445 0.169                                                                       e),(K +)G,) ', Oe)MH B\ CXD@\ -, .e''K) H,c )K.,'K ,) M,-'G-IK-' (&MH )GIH'
     High                  0.3125 0.3125            0.5160           0.2500                                                                   Four month         0.20         0.30   0.25    0.25 0.25       ', +ea.K-' ,) K*&G'edEK )K.KLa .ea dK\ N.0/ UQOW = 4155U 5U 9O=QN
     Low                   0.0600 0.0500            0.1000           0.0100    Euro interbank offered rate (Euribor)                                                                                         ,- ,) dKJ,)K =8#8<: *DH (D*$H E: $ZDD ?FBF KW/I J,) IK-K)eE M)KLG',)(
                                                                                                                                              Five month         0.20         0.35   0.28    0.28 0.28       _'HK 6T&A&>EY ;E> 7E:&4^ e-L 0&?:&BC&> (H (D*$H E: $ZDD ?FBF KW/I J,)
     Bid                   0.1000 0.0500            0.1300           0.0000
                                                                               One month              -0.066 -0.064 0.101 -0.066              Six month          0.25         0.50   0.38    0.38 0.38       I,%K)-.K-'eE &-G'( _'HK 6T@6&>AB&A:EY .A!: ;E> 7E:&\4 e-L ',IK'HK) cG'H
     Offer                 0.1200 0.2500            0.3400           0.0400
                                                                                                                                                                                                             'HK UK-K)eE "e) je'K\ 'HK 6;E> 7E:&<4^\ da (K-LG-I e- ,)GIG-eE +),,J ,J
     Treasury bill auction                                                     Notes on data:
                                                                               U.S. prime rate is effective December 16, 2008. Discount rate is effective February 19, 2010. U.S. prime
                                                                                                                                                                                                             MEeG. J,). ', Q&)'`.e- !e)(,- !,-(&E'e-'( PP! _6P994^\ -, Ee'K) 'He- @;XX
                                                                                                                                                                                                             +Z.Z _+)K%eGEG-I We('K)- 5G.K^ ,- 'HK e++EGMedEK "e) je'K\ da .eGEG-I 'HK
                                                                                                                                                                                                                                                                                                    (800) 366-3975
     4 weeks                     0.000 0.000 0.060 0.000                                                                                                                                                     ,)GIG-eE 9),,J ,J !EeG. da )KI&Ee) .eGE\ ,%K)-GIH' .eGE\ M,&)GK) (K)%GMK\ He-L
                                                                               rate is the base rate on corporate loans posted by at least 70% of the 10 largest U.S. banks; Other prime                     LKEG%K)a\ ,) G- +K)(,- ', !eE jG%K !EeG.( 9),MK((G-I MY, Q&)'`.e- !e)(,-
     13 weeks                    0.010 0.010 0.055 0.010
     26 weeks                    0.080 0.100 0.155 0.040
                                                                               rates aren’t directly comparable; lending practices vary widely by location; Discount rate is the charge on
                                                                               loans to depository institutions by the New York Federal Reserve Banks; Federal-funds rate is on
                                                                                                                                                                                                             !,-(&E'e-'( PP!\ CBB@ #Ee(Fe #%K-&K\ WE 7KI&-L,\ !# <XCA@ (, 'He' G' G(
                                                                                                                                                                                                             E):8EYYS >&)&!6&' ,- ,) dKJ,)K 'HK e++EGMedEK "e) je'KZ 4>@@%< @% )YE!B <&A:           sales.legalnotices@wsj.com
                                                                               reserves traded among commercial banks for overnight use in amounts of $1 million or more; Call money                         CS %E)<!B!Y& @> &GBE!Y V!YY A@: C& E))&?:&'Z
     Secondary market                                                          rate is the charge on loans to brokers on stock-exchange collateral; Commercial Paper (AA financial) is                          AZ =ML 4W105M 51 WM/Q/L KW+9W4/ = 4W105M 51 WM/Q/L ,R5 Q0
                                                                                                                                                                                                             W+9.0W7 ;L /RW /W1N0 5U /RW ;=1 7=/W 517W1I ,R5 U=QO0 /5 UQOW =
                                                                               from the Federal Reserve and is presented with a one-day lag. Libor is the Intercontinental Exchange
     Freddie Mac
     30-year mortgage yields
                                                                               Benchmark Administration Ltd average of interbank offered rates for dollar deposits in the London
                                                                               market; DTCC GCF Repo Index is Depository Trust & Clearing Corp.'s weighted average for overnight
                                                                                                                                                                                                             4155U 5U 9O=QN 5M 51 ;WU51W /RW =44OQ9=;OW ;=1 7=/W QM =9951G
                                                                                                                                                                                                             7=M9W ,Q/R /RW QM0/1.9/Q5M0 =;5-W ,QOO ;W U51W-W1 ;=11W7 =M7                           Place an ad with the
                                                                                                                                                                                                             W0/544W7 U15N -5/QMT .45MH 51 1W9WQ-QMT 7Q0/1Q;./Q5M0 .M7W1H
     30 days
     60 days
                        n.a.
                        n.a.
                                               n.a.
                                               n.a.
                                                          n.a.
                                                          n.a.
                                                                       n.a.
                                                                       n.a.
                                                                               trades in applicable CUSIPs. Value traded is in billions of U.S. dollars. Futures on the DTCC GCF Repo
                                                                               Index are traded on NYSE Liffe US.
                                                                                                                                                                                                             =ML 4O=M 51 4O=M0 5U 1W51T=MQJ=/Q5M 51 OQ3.Q7=/Q5M QM /RW 9R=4G
                                                                                                                                                                                                             /W1 ** 9=0W0H =M7 /RW 7W;/510 =M7 /RWQ1 4154W1/L ,QOO ;W 7Q0G
                                                                                                                                                                                                                                                                                                    self-service tool at:
     Fannie Mae
                                                                               Sources: Federal Reserve; Bureau of Labor Statistics; DTCC; SIX Financial Information;
                                                                                                                                                                                                             9R=1TW7 U15N =ML =M7 =OO OQ=;QOQ/L ,Q/R 1W04W9/ /5 /R=/ 9O=QNF
                                                                                                                                                                                                                @Z =AS ?E>:S E<<&>:!A# :"E: !: "E< E Y!&AH !A)Y8'!A#H V!:"@8: Y!B!:E:!@AH           wsj.com/classifieds
                                                                               General Electric Capital Corp.; Tullett Prebon Information, Ltd.                                                              EYY BE>!:!B&H B&)"EA!)2<H @> BE:&>!EYBEA2< Y!&AH E#E!A<: @A& @> B@>& @%
     30-year mortgage yields                                                                                                                                                                                 :"& 7&C:@><2 6&<<&Y< B8<: !'&A:!%S V!:" ?E>:!)8YE>!:S !A !:< 4>@@% @% 9YE!B
                                                                                                                                                                                                             :"& 6&<<&YK<I E#E!A<: V"!)" !: E<<&>:< E Y!&AH :"& EB@8A: @% <8)" Y!&AH EA'
     30 days          3.688 3.563 3.881 3.024                                                                                                                                                                :"& 'E:& @A V"!)" <8)" ?E>:S E<<&>:< :"& Y!&A E>@<&F
     60 days          3.728 3.607 3.920 3.080                                    IPO Scorecard                                                                                                                  ?Z 9),,J ,J MEeG. J,).( e-L e M,+a ,J 'HK "e) je'K :)LK) .ea dK ,d'eG-KL
                                                                                                                                                                                                             da %G(G'G-I Q!!1( cKd(G'K e' H''+(;YYcccZFMMEEMZ-K'YMeELG%K ,) da M,-'eM'G-I
     Bankers acceptance                                                                                                                                                                                      Q!! e' !eE jG%K !EeG.( 9),MK((G-I MY, Q&)'`.e- !e)(,- !,-(&E'e-'( PP!\
                                                                               Performance of IPOs, most-recent listed first                                                                                 CBB@ #Ee(Fe #%K-&K\ WE 7KI&-L,\ !# <XCA@Z Q!! Me--,' eL%G(K a,& H,c ',
     30 days                       0.15       0.15        0.15         0.15
                                                                                                                                                                                                             fEK\ ,) cHK'HK) a,& (H,&EL fEK\ e +),,J ,J MEeG.Z
     60 days                       0.19       0.19        0.19         0.19                                                PCT CHG FROM                                                     PCT CHG FROM     R&-K CC\ CXD@\ 0GE.G-I',-\ jKEece)K\ *-* )3/2$/ (, %+##4#\ 1Q9R=170H
     90 days                       0.23       0.23        0.23         0.23    Company SYMBOL                   Friday's   Offer 1st-day      Company SYMBOL                    Friday3s    Offer 1st-day    O=L/5M X UQMTW1H 4F=FH Oe)F jZ !,EEG-( _N,Z C<=D^\ OGMHeKE RZ OK)MHe-'
     120 days                      0.25       0.25        0.25         0.25    IPO date/Offer price            close ($)   price close        IPO date/Offer price             close ($)    price close      _N,Z B=@A^\ #.e-Le 8Z 7'KKEK _N,Z @@BX^\ :-K 8,L-Ka 7*&e)K\ <CX N,)'H
     150 days                      0.28       0.28        0.28         0.28                                                                                                                                  QG-I 7')KK'\ 0GE.G-I',-\ jKEece)K D<=XD\ 5KEK+H,-K; _BXC^ ?@D[>>XX\ VeM[
                                                                               Alarm.com holding                16.88       20.6        ...   Yulong Eco-Materials       6.17               –1.3       ...   (G.GEK; _BXC^ ?@D[>>XD [e-L[ 52NWO-WML X NLW10 OO4H UK,)IK #Z je%G(
     180 days                      0.38       0.38        0.38         0.38    ALRM June 26/$14.00                                            YECO June 26/$6.25                                             _eL.G''KL 0.1 "/' &!'#^\ #-L)Kc OZ 9e)EK-] _eL.G''KL 0.1 "/' &!'#^\ je-[
                                                                                                                                                                                                             GKE 7Z 7He.eH _eL.G''KL 0.1 "/' &!'#^\ 5G.K( 7*&e)K 5,cK)\ 7K%K- 5G.K(
     Other short-term rates                                                    AppFolio                         14.08       17.3        ...   BioPharmX                  2.70               –1.8      1.9    7*&e)K\ NKc i,)F\ Ni DXXB?\ 5KEK+H,-K; _CDC^ BC?[CXXX\ VeM(G.GEK; _CDC^
                                                                               APPF June 26/$12.00                                            BPMX June 25/$2.75                                             BC?[CX?D [e-L[ 7&``e--K 7Z 3HEe-L _eL.G''KL 0.1 "/' &!'#^\ 5c, W.de)[
                                       Week                52-WEEK                                                                                                                                           MeLK), !K-'K)\ C='H VE,,)\ 7e- V)e-MG(M,\ !# <ADDD\ 5KEK+H,-K; _AD@^ <=A[
                                Latest ago               high    low
                                                                               Green Plains Ptnrs LP            15.00         ...       ...   Catabasis Pharmaceuticals 13.47               12.3      3.6
                                                                                                                                                                                                             =>XX\ VeM(G.GEK; _AD@^ <=A[=>XD\ #'',)-Ka( J,) 'HK jKd',)( e-L jKd',)( G-
                                                                               GPP June 26/$15.00                                             CATB June 25/$12.00                                            9,((K((G,- ]#L.G''KL G- !#$ N,' #L.G''KL ', 9)eM'GMK G- Ni
     Call money                                                                Seres Thera                      51.40      185.6        ...   Gener8 Martime            13.51               –3.5      3.1    D
                                                                                                                                                                                                                5HK jKd',)( G- 'HK(K Me(K(\ eE,-I cG'H 'HK Ee(' J,&) LGIG'( ,J KeMH jKd',)1(
                                   2.00       2.00        2.00         2.00    MCRB June 26/$18.00                                            GNRT June 25/$14.00                                            JKLK)eE 'eb GLK-'GfMe'G,- -&.dK)\ e)K !eE jG%K S-'K)-e'G,-eE\ S-MZ _X@XD^\ !eE
                                                                                                                                                                                                             jG%K :JJ(H,)K !,-')eM',)(\ S-MZ _A=>=^\ #JfEGe'KL Oe)G-K !,-')eM',)(\ S-MZ
                                                                               Xactly                            8.70        8.8        ...   Glaukos                   28.00               55.6 –10.3       _=?>=^\ VEKK' 9G+KEG-K 7K)%GMK(\ S-MZ _CDXA^\ U&EJ :JJ(H,)K !,-(')&M'G,-\ S-MZ
     Commercial paper                                                          XTLY June 26/$8.00                                             GKOS June 25/$18.00                                            _CDX?^\ e-L !jS 8K-KcedEK(\ PP! _A<=@^Z 5HK jKd',)(1 M,)+,)e'K HKeL*&e)[                         © 2015 Dow Jones & Company, Inc.
     30 to 74 days                 n.q.           ...          ...       ...                                                                                                                                 'K)( G( e' C@XX !G'a0K(' ",&EK%e)L 7&G'K CCXX\ T,&(',-\ 5/ >>XACZ
                                                                                                                                                                                                                                                                                                                     All Rights Reserved.
     75 to 89 days                 0.15           ...          ...       ...                                                        Sources: WSJMarket Data Group; FactSet Research Systems




                                                        YELLOW
                                                        CYAN
                                                        BLACK
                                                        MAGENTA                     Composite                                                                                                                                                           P2JW180000-0-C00500-1--------XA
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            EXHIBIT D
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  No.    Entity                                              Subsidiaries / Affiliates                                         OptOut Date
   1     Sears, Roebuck and Co. / Kmart Corporation          Sears Holding Corporation                                          6/16/2015
                                                             Sears Holding Management Corporation
                                                             Kmart Management Corporation
                                                             Kmart Holdings Corporation

   2     Sharp Corporation                                   Sharp Electronics Corporation                                      6/29/2015
                                                             Sharp Manufacturing Company of America
                                                             Sharp Electronics Manufacturing Company of America, Inc.

   3     Best Buy Co., Inc.                                  Best Buy Purchasing, LLC                                           6/30/2015
                                                             Best Buy Enterprise Services, Inc.
                                                             Best Buy Stores, L. P.
                                                             BestBuy.com, LLC
                                                             Magnolia Hi‐Fi, Inc.

   4     Costco Wholesale Corporation                        n/a                                                                 7/6/2015

   5     Circuit City Stores, Inc. Liquidating Trust         n/a                                                                7/10/2015

   6     MARTA Cooperative of America, Inc.                  n/a                                                                 8/1/2015

   7     P.C. Richard & Son Long Island Corporation          A.J. Richard & Sons, Inc.                                           8/1/2015
                                                             P.C. Richard & Son, LLC
                                                             P.C. Richard Service Company
                                                             Alfred Reliable Appliances, Inc.
                                                             Reliable Richard's Service Corp.
                                                             AGP Services Corp.
                                                             Two Guys Ventures Corp.
                                                             A.J. Staten Island, LLC
                                                             P.C. Deer Park, LLC
                                                             P.C. 185 Price Parkway, LLC
                                                             P.C. 1574, Inc.
                                                             P.e. 1574 Milford, LLC
                                                             P.C. Lawrenceville, LLC
                                                             P.C. Brick 70, LLC
                                                             P.C. Richard & Son Connecticut, LLC

   8     Office Depot, Inc.                                  Office Depot Asia Holding Limited                                   8/1/2015
                                                             Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
                                                             Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
                                                             Office Depot Brasil Limitada (inactive)
                                                             Office Depot Brasil Participacoes Limitad
                                                             Office Depot Centro America, SA de CV
                                                             Office Depot Chile Limitada (inactive)
                                                             Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
                                                             Office Depot Delaware Overseas Finance No.1, LLC
                                                                (f.k.a Office Depot Delaware Overseas Finance No.1, Inc.)
                                                             Office Depot de Mexico SA de CV
                                                             Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
                                                             Office Depot France SNC (f.k.a Office Depot France SAS )
                                                             Office Depot Hungary Kft (f.k.a Elso Iroda Superstore Kft.)
                                                             Office Depot, Inc.
                                                             Office Depot International BVBA
                                                             OD International (Luxembourg) Finance
                                                             Office Depot, B. V. (formerly Guilbert Netherland BV)
                                                             Office Depot Cooperatief W.A.
                                                             Office Depot Europe B. V.
                                                             Office Depot Europe Holdings Ltd.
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  No.    Entity                                              Subsidiaries / Affiliates                                                 OptOut Date
                                                             Office Depot GmbH + Switzerland
                                                             Office Depot Holding GmbH + Switzerland
                                                             Office Depot Holdings Ltd.
                                                             Office Depot Holdings 2 Ltd.
                                                             Office Depot Holdings 3 Ltd.
                                                             Office Depot International B.V.
                                                             Office Depot International (UK) Ltd.
                                                             Office Depot Ireland Limited (f.k.a Guilbert Ireland Ltd)
                                                             Office Depot (Israel) Ltd.
                                                             Office Depot Italia S.r.1.
                                                             Office Depot Japan Limited
                                                             Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
                                                             Office Depot Latin American Holdings B.V.
                                                             Office Depot MDF SNC
                                                             Office Depot NA B. V.
                                                             Office Depot N.A. Shares Services LLC
                                                             Office Depot Netherland B.V.
                                                                (f.k.a Office Depot International, B.V.)
                                                                (f.k.a Viking Direct (Holdings) B.V.)
                                                             Office Depot Network Technology Ltd.
                                                             Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
                                                             Office Depot Overseas Limited
                                                             Office Depot Overseas Holding Limited
                                                             Office Depot Overseas 2 Limited
                                                             Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
                                                             Office Depot Private Limited
                                                             Office Depot Procurement and Sourcing (Shenzhen) Company Ltd.
                                                                Or translated: Office Depot Merchandising (Shenzhen) Company Ltd.
                                                             Office Depot Puerto Rico, LLC
                                                             Office Depot SAS (f.k.a Guilbert SAS)
                                                             Office Depot Service Center SRL
                                                             Office Depot Service ‐ und BeteiligungsGmbH&Co.KG
                                                             Office Depot S.LO. (f.k.a Papirius s.r.o.)
                                                             Office Depot S.L. (f.k.a Guilbert Espana S.L.)
                                                             Office Depot Tokumei Kumiai
                                                             Office Depot UK Limited (f.k.a Guilbert UK Ltd)
                                                             Office Depot ‐Viking Holdings B.V.
                                                             2300 South Congress LLC
                                                             4Sure.com, Inc.
                                                             AGE Kontor & Data AB
                                                             AsiaEC.com Limited
                                                             BizDepot, LLC (inactive)
                                                             Centro de Apoyo Caribe SA de CV
                                                             Centro de Apoyo SA de CV
                                                             Computers4Sure.com, Inc.
                                                             Curry's Limited
                                                             Deo Deo Tokumei Kumiai
                                                             eOffice Planet India Private Limited
                                                             Erial BQ S.A.
                                                             Europa S.A.S.
                                                             Gosta Hansson & Co AB
                                                             Guilbert Beteiligungsholding GmbH
                                                             Guilbert International B.V.
                                                             Guilbert Luxembourg S.AR.L.
                                                             Guilbert UK Holdings Ltd
                                                             Guilbert UK Pension Trustees Ltd
                                                             HC Land Company LLC
                                                             Helge Dahnberg AB + Sweden
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  No.    Entity                                              Subsidiaries / Affiliates                                                                  OptOut Date
                                                             Heteyo Holdings B V.
                                                             Hutter GmbH
                                                             Japan Office Supplies, LLC
                                                             Kontorsfackhandlarna Stockholm AB + Sweden
                                                             Kontorsgruppen i Sverige AB + Sweden
                                                             NEWGOH Immobilienverwaltung GmbH
                                                             Neighborhood Retail Development Fund, LLC (inactive)
                                                             Niceday Distribution Centre Ltd
                                                             North American Card and Coupon Services, LLC
                                                             Notus Aviation, Inc.
                                                             OD Acquisition Canada ULC
                                                             OD Aviation, Inc.
                                                             OD Colombia Ltda
                                                             OD EI Salvador, Ltda. de c.V.
                                                             OD France, LLC
                                                             ODV France LLC
                                                             ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
                                                             OD Guatemala y Compania. Limitada
                                                             OD Honduras S de RL
                                                             OD International, Inc.
                                                             OD International Holdings CV
                                                             OD International (Luxembourg) Holdings S.A.R.L.
                                                             OD International (Luxembourg) Participation S.A.R.L.
                                                             OD Management SNC
                                                             OD Medical Solutions LLC
                                                             OD of Texas, LLC (f.k.a OD of Texas Inc.)
                                                             ODPanamaSA
                                                             OD S.N.C.
                                                             ODST, LLC (inactive)
                                                             OD Tressorerie (f.k.a om S.N.C.)
                                                             Office 1 Ltd
                                                             Office 1 (1995) Ltd
                                                             Office Club, Inc.
                                                             OfficeMax Contract, Inc. (f.k.a. Boise Cascade Office Products Corporation)
                                                             OfficeMax Incorporated (f.k.a. Boise Cascade Corporation)
                                                             OfficeMax North America, Inc. (f.k.a. OfficeMax, Inc.)
                                                             OfficeSupplies.com, Inc.
                                                             Office Town, Inc. (inactive)
                                                             Papirius Kft.
                                                             Pappersnabben i Malmo AB + Sweden
                                                             Patitucci Ltd.
                                                             Reliable Uk Ltd
                                                             Ritma AB + Sweden
                                                             S .A.R.L.
                                                             Servicios Administrativos Office Depot SAdeCV
                                                             Servicios y Material De Escritorio S.L.
                                                             Solutions4Sure.com, Inc.
                                                             Stichting Office Depot Charity for Children
                                                             Swinton Avenue Trading Limited, Inc.
                                                             The Reliable Corporation
                                                             Viking Direct B.V.
                                                             Viking Direct (Holdings) Limited
                                                             Viking Direct (Ireland) Limited (f.k.a Viking Direct (Ireland) Limited;
                                                                then Office Depot International (Ireland) Limited ‐new change effective as of 912004)
                                                             Viking Direct S.A.R.L.
                                                             Viking Direkt GesmbH
                                                             Viking Finance (Ireland) Limited
                                                             Viking Office Products, Inc.
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  No.    Entity                                                Subsidiaries / Affiliates                                              OptOut Date
                                                              Viking Office Products KK
                                                              Viking Office Products S.r.l. (f.k.a Viking Direct Sri)
                                                              VOP (Ireland) Limited
                                                              VPC System S.r.l (inactive)

   9     Interbond Corporation of America d/b/a BrandsMart USA n/a                                                                      8/1/2015

   10    Electrograph Systems, Inc.                           International Computer Graphics, Inc.                                     8/1/2015
                                                              ActiveLight, Inc.
                                                              CineLight Corporation
                                                              Manchester Technologies, Inc.
                                                              Manchester Equipment Co., Inc.
                                                              Champion Vision, Inc.
                                                              Coastal Office Products, Inc.
                                                              Electrograph Technologies Corp.

   11    ABC Appliance, Inc. d/b/a ABC Warehouse              n/a                                                                       8/1/2015

   12    Schultze Agency Services, LLC                        Tweeter Newco, LLC                                                        8/1/2015
                                                              Tweeter Opco, LLC
                                                              Tweeter Intellectual Property, LLC
                                                              Tweeter Tivoli, LLC
                                                              Tweeter Home Entertainment Group, Inc.
                                                              Sound Advice, Inc. d/b/a Sound Advice and Showcase Home Entertainment
                                                              Hifi Buys Incorporated
                                                              Tweeter Etc.
                                                              Douglas TV & Appliance, Inc.
                                                              Douglas Audio Video Caters, Inc.
                                                              United Audio Centers, Inc .
                                                              Sumarc Electronics Incorporated d/b/a NOW! Audio Video
                                                              Bryn Mawr Radio and Television, Inc.
                                                              The Video Scene, Inc. d/b/a Big Screen City
                                                              Hillcrest High Fidelity, Inc. d/b/a Hillcrest Audio
                                                              DOW StereoNideo, Inc.
                                                              Home Entertainment of Texas, Inc.
                                                              SMK Marketing, Inc. d/b/a Audio Video Systems
                                                              Sound Advice of Arizona, Inc.
                                                              New England Audio Co., Inc.
                                                              NEA Delaware, Inc.
                                                              THEG USA L.P.
                                                              Showcase Home Entertainment

   13    Dell Inc.                                            1397639 Ontario, Inc.                                                     8/4/2015
                                                              26eme Avenue SAS
                                                              881229 Alberta ULC
                                                              Abu Dhabi Branch of PSC Healthcare Software, Inc.
                                                              Active Concepts Inc.
                                                              Active Concepts PTY
                                                              Aelita Software Branch, Moscow
                                                              Aelita Software Branch, St. Petersburg
                                                              Aelita Software Corporation
                                                              Aelita Software Limited (UK)
                                                              Alienware Corporation
                                                              Alienware Corporation (Pacific Rim), Pty Ltd.
                                                              Alienware Labs Corporation
                                                              Alienware Latin America, S.A (Renamed Dell Costa Rica SA)
                                                              Alienware Limited
                                                              AppAssure Technologies Inc.
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  No.    Entity                                              Subsidiaries / Affiliates                                                     OptOut Date
                                                             ASAP Software Express Inc.
                                                             Aventail L.L.C.
                                                             BakBone Software GmbH
                                                             BakBone Software India Private Limited
                                                             Bakbone Software Limited
                                                             BakBone Software Ltd. Russia Branch
                                                             BakBone Software SARL
                                                             BakBone Software, Inc.
                                                             BearingPoint Management Consulting (Shanghai) Ltd.
                                                             BearingPoint Management Consulting (Shanghai) Ltd. Beijing Branch
                                                             BitKoo CA LLC
                                                             Bluefolder, Inc
                                                             Bolts Acq. Corp.
                                                             Boomi, Inc.
                                                             Bracknell Boulevard (Block C) LLC
                                                             Bracknell Boulevard (Block D) LLC
                                                             Bracknell Boulevard Management Company Limited
                                                             Branch of Dell (Free Zone Company L.L.C)
                                                             Branch Office of Dell Software LLC in Saint‐Petersburg
                                                             Canada Branch of Perot Systems Corporation
                                                             Change Base Ltd
                                                             Charonware, s.r.o.
                                                             Clerity Solutions, Inc.
                                                             Coldspark, Inc.
                                                             Compellent Technologies France Sarl
                                                             Compellent Technologies Netherlands B.V.
                                                             Compellent Technologies, Inc.
                                                             Compellent Technologies International Ltd.
                                                             CompellentTechnologies Italy Srl
                                                             Compellent Technologies Netherlands BV
                                                             Corporacion Dell de Venezuela SA
                                                             Credant Technologies GmbH
                                                             Credant Technologies International, Inc (Belgium Branch)
                                                             Credant Technologies International, Inc.
                                                             Credant Technologies International, Inc. (UK Branch)
                                                             Credant Technologies, Inc.
                                                             Credant Technologies UK
                                                             Credant Technologies, Inc. ‐ Canada Branch
                                                             CSCAN Acquisition Corp.
                                                             DCC Executive Security Inc. (fOlmerly PSC Security, Inc.)
                                                             Dell (Chengdu) Company Limited
                                                             Dell (China) Company Limited
                                                             Dell (China) Company Limited ‐ Beijing Branch
                                                             Dell (China) Company Limited ‐ Chengdu Branch
                                                             Dell (China) Company Limited ‐ Beijing Information Technology Branch Office
                                                             Dell (China) Company Limited ‐ Beijing Liaison Office
                                                             Dell (China) Company Limited ‐ Chengdu Liaison Office
                                                             Dell (China) Company Limited ‐ Dalian Branch
                                                             Dell (China) Company Limited ‐ Guangzhou Branch
                                                             Dell (China) Company Limited ‐ Guangzhou Liaison Office
                                                             Dell (China) Company Limited ‐ Hang Zhou Liaison Office
                                                             Dell (China) Company Limited ‐ Nanjing Liaison Office
                                                             Dell (China) Company Limited ‐ Shanghai
                                                             Dell (China) Company Limited ‐ Shanghai Branch
                                                             Dell (China) Company Limited ‐ Shen Zhen Liaison Office
                                                             Dell (China) Company Limited ‐ Shenzhen Branch
                                                             Dell (China) Company Limited ‐ Xiamen Branch
                                                             Dell (PS) B.V.
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                                                             Dell (PS) Investments B.V.
                                                             Dell (PS) Limited
                                                             Dell (PS) Systems B.V.
                                                             Dell (PS) Systems TSI (Netherlands) B.V.
                                                             Dell (Switzerland) GmbH
                                                             Dell (Xiamen) Company Limited
                                                             Dell (Xiamen) Company Limited ‐ Dalian Branch
                                                             Dell A/S
                                                             Dell AB
                                                             Dell America Latina Corp, Argentina Branch
                                                             Dell America Latina Corp.
                                                             Dell AS
                                                             Dell Asia B.V.
                                                             Dell Asia Holdings Pte. Ltd.
                                                             Dell Asia Pacific Sdn Bhd (Pakistan Liaison Office)
                                                             Dell Asia Pacific Sdn.
                                                             Dell Asia Pacific Sdn. ‐ Philippines Representative Office
                                                             Dell Asia Pacific Sdn. Bhd.
                                                             Dell Asia Pte Ltd.
                                                             Dell Asset Revolving Trust‐B
                                                             Dell Asset Syndication L.L.C.
                                                             Dell Asset Securitization GP
                                                             Dell Asset Securitization Holding L.P.
                                                             Dell Australia Pty Limited
                                                             Dell B.V.
                                                             Dell B.V., Taiwan Branch
                                                             Dell Bank International Limited
                                                             Dell Bank International Limited, Sucursal en Espana
                                                             Dell Business Process Solutions India Private Limited
                                                             Dell Canada Inc.
                                                             Dell Catalog Sales LP Representative Office
                                                             Dell Colombia Inc.
                                                             Dell Colombia Inc ‐ COLOMBIA BRANCH
                                                             Dell Computadores do Brasil Ltda.
                                                             Dell Computer (Barbados) Corporation
                                                             Dell Computer (Proprietary) Ltd
                                                             Dell Computer (Pty) Limited
                                                             Dell Computer De Chile Ltda.
                                                             Dell Computer EEIG
                                                             Dell Computer Holdings L.P.
                                                             Dell Computer International (II) ‐ Comercio de Computadores Sociedade Unipessoal Lda
                                                             Dell Computer SA
                                                             Dell Computer Services de Mexico S.A. de C.Y.
                                                             Dell Computer spol. s r.o.
                                                             Dell Conduit Funding L.P.
                                                             Dell Conduit Funding‐B L.L.C.
                                                             Dell Corporation (Thailand) Co., Ltd.
                                                             Dell Corporation Limited
                                                             Dell Corporation Limited ‐ Northern Ireland Place of Business
                                                             Dell Costa Rica SA
                                                             Dell Depositor L.L.C.
                                                             Dell DFS Canada Inc
                                                             Dell DFS Corporation
                                                             Dell DFS Holdings Kft
                                                             Dell DFS Holdings LLC
                                                             Dell DFS Ltd
                                                             Dell DFS Ltd. ‐ Spain Branch
                                                             Dell Direct
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                                                             Dell Distribution Maroc (Succ)
                                                             Dell El Salvador, Limitada
                                                             Dell Distribution (EMEA) Limited
                                                             Dell Emerging Markets (EMEA) Limited
                                                             Dell Emerging Markets (EMEA) Ltd ‐ Russia Representative Office
                                                             Dell Emerging Markets (EMEA) Limited ‐ Egypt Representative Office
                                                             Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Republic of Croatia)
                                                             Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Jordan)
                                                             Dell Emerging Markets (EMEA) Limited (Kazakhstan Representative Office)
                                                             Dell Emerging Markets (EMEA) Limited (Kenya Branch)
                                                             Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet Rep. Office
                                                             Dell Emerging Markets (EMEA) Limited (Uganda Representative Office)
                                                             Dell Emerging Markets (EMEA) Limited External Company (Ghana)
                                                             Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
                                                             DELL EMERGING MARKETS (EMEA) LIMITED za usluge, Podruznica Zagreb
                                                             Dell Equipment Finance Trust 2014‐1
                                                             Dell Equipment Finance Trust 2015‐1
                                                             Dell Equipment Funding LP
                                                             Dell Equipment GP LLC
                                                             Dell Export Sales Corporation
                                                             Dell Federal Systems Corporation
                                                             Dell Federal Systems GP L.L.C.
                                                             Dell Federal Systems L.P.
                                                             Dell Federal Systems LP L.L.C.
                                                             Dell Financial Services Canada Limited
                                                             Dell Financial Services L.L.C.
                                                             Dell Funding L.L.C.
                                                             Dell FZ‐LLC
                                                             Dell FZ‐LLC ‐ Abu Dhabi Branch
                                                             Dell FZ‐LLC ‐ BAHRAIN BRANCH
                                                             Dell FZ‐LLC ‐ Qatar Branch
                                                             Dell Gesellschaft m.b.H
                                                             Dell Global B.V.
                                                             Dell Global B.V. ‐ Bangladesh Liaison Office
                                                             Dell Global B.V. ‐ Indonesia Representative Office
                                                             Dell Global B.V. ‐ Pakistan Liaison Office
                                                             Dell Global B.V. ‐ Philippines Representative Office
                                                             Dell Global B.V. ‐ Sri Lanka Liaison / Representative Office
                                                             Dell Global B.V. (Singapore Branch)
                                                             Dell Global Business Center Sdn. Bhd.
                                                             Dell Global Holdings II B.V.
                                                             Dell Global Holdings III B.V.
                                                             Dell Global Holdings IV L.L.C.
                                                             Dell Global Holdings L.L.C.
                                                             Dell Global Holdings VI L.L.C.
                                                             Dell Global Holdings VII LLC
                                                             Dell Global Holdings VIII L.L.C
                                                             Dell Global Holdings X L.L.C.
                                                             Dell Global International B.V.
                                                             Dell Global Procurement Malaysia Sdn. Bhd.
                                                             Dell Global Pte. Ltd.
                                                             Dell GmbH
                                                             Dell GmbH ‐ Munich Branch
                                                             Dell GmbH SUPERVISORY BOARD
                                                             Dell Guatemala, Ltda.
                                                             Dell Halle GmbH
                                                             Dell Halle GmbH SUPERVISORY BOARD
                                                             Dell Honduras, S. de R.L. de C.V.
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                                                             Dell Hong Kong Limited
                                                             Dell Hungary Technology Solutions Trade LLC
                                                             Dell III ‐ Comercio de Computadores, Unipessoal Lda
                                                             Dell Inc.
                                                             Dell India (Sales & Marketing) Private Limited
                                                             Dell India Private Limited
                                                             Dell Information Technology (Hunan) Company Limited
                                                             Dell Information Technology (Kunshan) Company Limited
                                                             Dell International Holdings IX B.V.
                                                             Dell International Holdings Kft
                                                             Dell International Holdings SAS
                                                             Dell International Holdings VIII B.V.
                                                             Dell International Holdings X B.V.
                                                             Dell International Holdings XII CooperatiefU.A.
                                                             Dell International Inc. (Korea)
                                                             Dell International L.L.C.
                                                             Dell International Services India Private Limited (Active)
                                                             Dell International Services Philippines, Inc.
                                                             Dell International Services SRL
                                                             Dell Japan Inc
                                                             Dell Latinoamerica, S. de R.L.
                                                             Dell Leasing Mexico S. de RL de C.V.
                                                             Dell Leasing Mexico Services S. de. R.L. de C.V.
                                                             Dell LLC
                                                             Dell Marketing Corporation
                                                             Dell Marketing GP L.L.C.
                                                             Dell Marketing L.P.
                                                             Dell Marketing LP L.L.c.
                                                             Dell Mexico S.A. de C.V.
                                                             Dell Morocco SAS
                                                             Dell New Zealand Limited
                                                             Dell NV
                                                             Dell Panama S de RL
                                                             Dell Peru S.A.C.
                                                             Dell Procurement (Xiamen) Company Limited
                                                             Dell Procurement (Xiamen) Company Limited ‐ Shanghai Branch
                                                             Dell Procurement (Xiamen) Company Limited ‐ Shenzhen Branch
                                                             Dell Procurement (Xi amen) Company Limited ‐ Shenzhen Liaison Office
                                                             Dell Product and Process Innovation Services Corp.
                                                             Dell Products
                                                             Dell Products (Europe) B.V.
                                                             Dell Products (Poland) Sp.z.o.o.
                                                             Dell Products Corporation
                                                             Dell Products GP LLC
                                                             Dell Products L.P.
                                                             Dell Products LP L.L.C.
                                                             Dell Products Manufacturing Limited
                                                             Dell Protective Services Inc.
                                                             Dell Puerto Rico Corp.
                                                             Dell Quebec Inc.
                                                             Dell Receivables Corporation
                                                             Dell Receivables GP LLC
                                                             Dell Receivables L.P.
                                                             Dell Receivables LP LLC
                                                             Dell Research
                                                             Dell Revolver Company L.P.
                                                             Dell Revolver Funding L.L.C.
                                                             Dell Revolver GP L.L.C.
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                                                             Dell Revolving Transferor L.L.C.
                                                             Dell S.a.r.l
                                                             Dell S.p.A
                                                             Dell s.r.o.
                                                             Dell SA
                                                             Dell Sales Malaysia Sdn. Bhd.
                                                             Dell SAS
                                                             Dell Services (China) Company Limited
                                                             Dell Services (China) Company Limited ‐ Beijing Consulting Branch
                                                             Dell Services (China) Company Limited ‐ Shanghai Branch
                                                             Dell Services (China) Company Limited ‐ Tianjin Branch
                                                             Dell Services Federal Government, Inc.
                                                             Dell Services GmbH
                                                             Dell Services Pte. Ltd.
                                                             Dell Singapore Pte. Ltd. (plan to close)
                                                             Dell Software (Beijing) Company Limited
                                                             Dell Software (Beijing) Company Limited, Guangzhou Branch Office
                                                             Dell Software (Beijing) Company Limited, Shanghai Branch Office
                                                             Dell Software (UK) Limited
                                                             Dell Software (Zhuhai) Company Limited
                                                             Dell Software AB
                                                             Dell Software ApS
                                                             Dell Software AS
                                                             Dell Software B.V.
                                                             Dell Software BVBA
                                                             Dell Software Canada Inc.
                                                             Dell Software Company Limited
                                                             Dell Software GmbH
                                                             Dell Software Hong Kong Limited
                                                             Dell Software Inc.
                                                             Dell Software India Private Limited
                                                             Dell Software International Limited
                                                             Dell Software Japan, Ltd.
                                                             Dell Software Korea Ltd
                                                             Dell Software LLC
                                                             Dell Software Ltda. (Brazil)
                                                             Dell Software New Zealand Limited
                                                             Dell Software Pty. Ltd.
                                                             Dell Software S.r.l. Unipersonale
                                                             Dell Software SARL
                                                             Dell Software Sdn. Bhd.
                                                             Dell Software Singapore Pte. Ltd.
                                                             Dell Software SL
                                                             Dell Software Switzerland GmbH
                                                             Dell Solutions (UK) Limited
                                                             Dell Sp.z o.o.
                                                             Dell Systems (TSI) Mauritius Private Limited
                                                             Dell Systems (UK) Limited
                                                             Dell Systems Applications Solutions, Inc.
                                                             Dell Systems Communications Services, Inc.
                                                             Dell Systems Corporation
                                                             Dell Systems Europe Limited
                                                             Dell Systems TSI (Hungary) Likviditasmenedzsment Korlatolt Felehsseg6 Tarsasag
                                                             Dell Taiwan B.Y.
                                                             Dell Taiwan B.Y., Taiwan Branch
                                                             Dell Technology & Solutions Israel Ltd
                                                             Dell Technology & Solutions Limited
                                                             Dell Technology & Solutions Nigeria Limited
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  No.    Entity                                              Subsidiaries / Affiliates                                              OptOut Date
                                                             Dell Technology Products And Services SA
                                                             Dell Technology Services, Inc, Sociedad De Responsabilidad Limitada
                                                             Dell Teknoloji Limited Sirketi
                                                             Dell Trinidad and Tobago Company Limited
                                                             Dell Trading (Kunshan) Company Limited
                                                             Dell UK Employee Financial Security Plan
                                                             Dell USA Corporation
                                                             Dell USA GP L.L.C.
                                                             Dell USA L.P.
                                                             Dell USA LP LLC
                                                             Dell World Trade Corporation
                                                             Dell World Trade GP L.L.C.
                                                             Dell World Trade L.P.
                                                             Dell World Trade LP L.L.C.
                                                             Denali Finance Corp.
                                                             Denali Holding Inc.
                                                             Denali Intermediate Inc.
                                                             DFS B.V.
                                                             DFS Equipment Holdings, LP
                                                             DFS Equipment Remarketing LLC
                                                             DFS Funding LB.LV.C.
                                                             DFS‐SPV L.L.C.
                                                             DIH IX CV
                                                             DIH VI CV
                                                             DIH VII C.V.
                                                             DIH VIII C.V.
                                                             DIH X C.V.
                                                             EqualLogic Japan Company Limited
                                                             Enstratius (NZ) Limited
                                                             Enstratius, Inc.
                                                             Fastlane Technologies Corporation
                                                             Fastlane Technologies UK
                                                             Force 10 International Limited
                                                             Force1 0 Networks (Shanghai) Company Limited
                                                             Force10 Networks Australia Pty. Ltd.
                                                             Force1 0 Networks Germany (Branch)
                                                             Force10 Networks Global, Inc.
                                                             Force10 Networks Hong Kong (Branch)
                                                             Force10 Networks India Pvt. Ltd.
                                                             Force 10 Networks International, Inc.
                                                             Force 1 0 Networks International, Inc Zweigniederlassung Deutschland
                                                             Force1 0 Networks Singapore Pte. Ltd.
                                                             Force10 Networks, Inc. Force10 Networks Korea YH
                                                             Force1 0 Networks Ltd.
                                                             Force 1 0 Networks Malaysia (Branch)
                                                             Force 1 0 Networks Spain (Rep office)
                                                             Fresh Dew Investments Ltd.
                                                             Fvision Acquisition Corp.
                                                             Gale Networks Private Limited
                                                             Gale Technologies, Inc.
                                                             Hinsona Limited
                                                             HPS Europe Limited BRANCH
                                                             JKK Finance Ltd.
                                                             Imceda Software Australia Pty, Ltd.
                                                             Imceda Software Inc.
                                                             Imceda Technologies Pty,JKK Finance Ltd.
                                                             Invirtus, Inc.
                                                             Lecco Technology (UK) Limited
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                                                             Lecco Technology Inc.
                                                             Lecco Technology, Inc. (USA)
                                                             License Technologies Group, Inc.
                                                             LLC Dell Ukraine
                                                             Lumenare Networks Mauritius Ltd
                                                             Magnum Technologies, Inc.
                                                             Make Technologies Inc.
                                                             Messagewise
                                                             Muretia Investments Ltd
                                                             NetPro Computing Canada, Inc.
                                                             NetPro Computing France, Inc.
                                                             NetPro Computing Germany, Inc.
                                                             NetPro Computing UK, Inc.
                                                             NetPro Computing, Inc.
                                                             NetPro Engineering, Inc.
                                                             NetPro Europe Branch
                                                             NetPro Europe, Inc.
                                                             NetPro France Branch
                                                             NetPro Germany Branch
                                                             NetPro UK Branch
                                                             Ocarina Networks India Private Limited
                                                             OptiGrowth Capital S.a.r.l
                                                             PacketTrap Networks, Inc.
                                                             Oy Dell AB
                                                             PassGo Technologies Limited
                                                             PassGo Technologies Trustees Ltd
                                                             Perot Systems (Malaysia) Sdn. Bhd.
                                                             Perot Systems (Shanghai) Consulting Co., Ltd
                                                             Perot Systems India Foundation
                                                             Perot Systems TSI (Bermuda) Ltd.
                                                             Perot Systems (Singapore) Pte. Ltd.
                                                             Perot Systems (Switzerland) GmbH
                                                             Perot Systems (UK) Ltd.
                                                             Perot Systems Application Solutions Inc.
                                                             Perot Systems B.V.
                                                             Perot Systems Communications Services, Inc.
                                                             Perot Systems Corporation
                                                             Perot Systems Europe Limited
                                                             Perot Systems Government Healthcare Solutions, Inc.
                                                             Perot Systems Government Solutions, Inc.
                                                             Perot Systems Healthcare Solutions, Inc.
                                                             Perot Systems Holdings Pte. Ltd
                                                             Perot Systems Investments B.V.
                                                             Perot Systems Revenue Cycle Solutions, Inc.
                                                             Perot Systems TSI (Hungary) Liquidity Management LLC
                                                             Perot Systems TSI (Mauritius) Pvt. Ltd.
                                                             Perot Systems TSI (Middle East) FZ‐LLC
                                                             Perot Systems TSI (Netherlands) B.V.
                                                             PrSM Corporation
                                                             PSC GP Corporation
                                                             PSC Healthcare Software, Inc.
                                                             PSC LP Corporation
                                                             PSC Management Limited Partnership
                                                             PSM Holdings 1, Inc.
                                                             PSM Holdings 2, Inc.
                                                             PSM Holdings 1 L.L.C.
                                                             PSM Holdings 2 L.L.C.
                                                             PT Dell Indonesia
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                                                             Q.S.I. Quest Software Israel Limited
                                                             QSFT India Private Ltd. Inc.
                                                             QSFT Svenska AB
                                                             QSS Group, Inc.
                                                             Quest Acquisition Corporation
                                                             Quest Holding Company, LLC
                                                             Quest Holdings SARL
                                                             Quest Software Limited
                                                             Quest Software Public Sector, Inc.
                                                             Quest Scandanavia AS
                                                             Quest Software (UK) Ltd.
                                                             Quest Software (Zhuhai) Ltd.
                                                             Quest Software Beijing Company
                                                             Quest Software Belgium
                                                             Quest Software Canada
                                                             Quest Software Company Limited
                                                             Quest Software Espana, SL
                                                             Quest Software France Sarl
                                                             Quest Software Gmbh
                                                             Quest Software Greater China Limited
                                                             Quest Software Int'l Limited
                                                             Quest Software Italia Srl
                                                             Quest Software Japan Ltd
                                                             Quest Software Korea Ltd
                                                             Quest Software Mexico, S. de R.L. de C.V.
                                                             Quest Software Netherlands B.V.
                                                             Quest Software Norge S/A
                                                             Quest Software Pty, Ltd.
                                                             Quest Software Public Sector Inc
                                                             Quest Software Sales Sdn Bhd
                                                             Quest Software Singapore Pty Limited
                                                             Quest Software Switzerland Gmbh
                                                             Quest Software, Inc.
                                                             Quest Software, Ltd.
                                                             QuickCyckem Inc.
                                                             QuikCycle Inc.
                                                             Safari I, Inc.
                                                             Safari II GP LLC
                                                             Safari II, Inc.
                                                             Safari Limited II LP
                                                             Safari Limited Partnership
                                                             ScriptLogic Australia
                                                             Secure Works Holding Corp.
                                                             Secure Works Inc.
                                                             Secure Works UK Ltd.
                                                             SecureWorks UK Ltd. ‐ Finland Branch
                                                             Smarsh CRM Service, Inc.
                                                             Smarsh Inc.
                                                             Software Ltd Russia Rep Office
                                                             Representative Office of Dell Global B.V. in Hanoi
                                                             Representative Office of Dell Global B.V. in Ho Chi Minh City
                                                             ScriptLogic Corporation
                                                             SecureWorks Australia Pty. Ltd.
                                                             Secure Works Europe Limited
                                                             SecureWorks Europe S.R.L.
                                                             Secure Works Holding Corporation
                                                             Secure Works India Private Limited
                                                             SecureWorksJapan K.K.
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                                                             Secure Works SAS
                                                             SecureWorks, Inc.
                                                             SonicWALL BV
                                                             SonicWALL BV ‐ Australia Branch
                                                             SonicWALL BV ‐ Beijing Rep. Office
                                                             SonicWALL BV ‐ Belgium Branch
                                                             SonicWALL BV ‐ Canada Branch
                                                             SonicWALL BV ‐ Dubai Branch
                                                             SonicWALL BV ‐ France Branch
                                                             SonicWALL BV ‐ Germany Branch
                                                             SonicWALL BV ‐ Hong Kong Branch
                                                             SonicWALL BV ‐ India Branch
                                                             SonicWALL BV ‐ Ireland Branch
                                                             SonicWALL BV ‐ Japan Branch
                                                             SonicWALL BV ‐ Korea Branch
                                                             SonicWALL BV ‐ Singapore Branch
                                                             SonicWALL BV ‐ Spain Branch
                                                             SonicWALL BV ‐ Sweden Branch
                                                             SonicWALL BV ‐ Taiwan Branch
                                                             SonicWALL BV ‐ UK Branch
                                                             Sonic WALL Infosecurity Private Limited
                                                             SonicWALL L.L.C.
                                                             Sonic WALL Mexico, S de RL de CV
                                                             SonicWALL AG
                                                             SonicWALL B.V.
                                                             SonicWALL B.V. (Belgium Branch)
                                                             SonicWALL B.V. (Singapore Branch)
                                                             SonicWALL B.V. (UK Branch)
                                                             SonicWALL B.V. Australia Branch
                                                             SonicWALL B.V., Taiwan Branch
                                                             SonicWALL Mexico, S. de R.L. de C.V.
                                                             Sonic WALL Russia LLC
                                                             SonicWALL Services Private Limited
                                                             Sonic WALL Shanghai Limited
                                                             Sonic WALL, Inc.
                                                             Support Center, BV (pka Sitraka)
                                                             Surgient, Inc.
                                                             StatSoft CR s.r.o
                                                             StatSoft France
                                                             StatSoft Holdings, Inc.
                                                             Statsoft Holdings, Inc. Taiwan Branch
                                                             StatSoft Iberica ‐ Representacao E Consultoria De Software LDA
                                                             StatSoft Israel Limited
                                                             StatSoft Italia S.r.l
                                                             StatSoft Limited
                                                             StatSoft Pacific Pty. Ltd.
                                                             StatSoft Polska Sp.z.o.o
                                                             StatSoft, Inc.
                                                             Symlabs ‐ Desenvolvimento de Software, S.A.
                                                             Symlabs Espana, Software y Sistemas, S.L.
                                                             Symlabs, Inc.
                                                             Symlabs S.A. Portugal
                                                             Transaction Applications Group, Inc.
                                                             Trellia Networks, Inc.
                                                             Turin Networks India Private Limited
                                                             Turin Networks International, Inc.
                                                             TXZ Holding Company Limited
                                                             Vintela Australia Pty., Ltd
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as of 8/25/15

  No.    Entity                                              Subsidiaries / Affiliates                                  OptOut Date
                                                             Vintela Pty, Ltd.
                                                             Vintela, Inc.
                                                             VirtualFabrix Inc.
                                                             Vizioncore
                                                             Vkernel Corp.
                                                             Wedgetail Communications Inc.
                                                             Wyse Australia Pty. Ltd Australia
                                                             Wyse International LLC
                                                             Wyse Mexico S.A. de C.V.
                                                             Wyse Technology, Inc.
                                                             Wyse Technology (Canada) Ltd.
                                                             Wyse Technology (Beijing) Co. Ltd.
                                                             Wyse Technology (Taiwan) Ltd.
                                                             Wyse Technology (UK) Limited
                                                             Wyse Technology Australia Pty Limited
                                                             Wyse Technology Holdings (Cayman) Ltd.
                                                             Wyse Technology China (HK) Limited
                                                             Wyse Technology GmbH Germany
                                                             Wyse Technology GmbH
                                                             Wyse Technology International B.V.
                                                             Wyse Technology KK Japan
                                                             Wyse Technology L.L.C.
                                                             Wyse Technology SAS
                                                             Wyse Technology Singapore Pte. Ltd.
                                                             Wyse Technology Ltd Taiwan
                                                             Wyse Technology SA France
                                                             Wyse Technology Sales & Marketing India Private Ltd.
                                                             Wyse Techonology China (HK) Ltd.
                                                             Wyse Techonology S.A de C.V.
                                                             Wyse Techonology Software Development India Private Ltd.

   14    Tech Data Corp.                                     Azlan European Finance Limited                               8/6/2015
                                                             Azlan GmbH
                                                             Azlan Group Limited
                                                             Azlan Limited
                                                             Azlan Logistics Limited
                                                             Azlan Overseas Holdings Ltd.
                                                             Azlan Scandinavia AB
                                                             Computer 2000 Distribution Ltd.
                                                             Datatechnology Datech Ltd.
                                                             Datech 2000 Ltd.
                                                             Frontline Distribution Ltd.
                                                             Horizon Technical Services (UK) Limited
                                                             Horizon Technical Services AB
                                                             Hotlamps Limited
                                                             lSI Distribution Limited
                                                             Managed Training Services Limited
                                                             Maneboard Limited
                                                             Maverick Presentation Products Limited
                                                             Quadrangle Technical Services Limited
                                                             Screen Expert Limited UK
                                                             Specialist Distribution Group (SOG) Limited
                                                             TO Brasil Ltda (Brazil)
                                                             TO Facilities, Ltd. (Partnership)
                                                             TO Fulfillment Services, LLC
                                                             TO Tech Data AB
                                                             TO Tech Data Portugal Lda
                                                             TD United Kingdom Acquisition Limited
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as of 8/25/15

  No.    Entity                                              Subsidiaries / Affiliates                                                                 OptOut Date
                                                             Tech Data (Netherlands) BV
                                                             Tech Data (Schweiz) GmbH
                                                             Tech Data bvba
                                                             Tech Data Canada Corporation
                                                             Tech Data Colombia S.A.S.
                                                             Tech Data Delaware, Inc.
                                                             Tech Data Denmark ApS
                                                             Tech Data Deutschland GmbH
                                                             Tech Data Distribution Limited
                                                             Tech Data Distribution s.r.o.
                                                             Tech Data Education, Inc.
                                                             Tech Data Espana S.L.U.
                                                             Tech Data Europe GmbH
                                                             Tech Data Europe Services and Operations, S.L.
                                                             Tech Data European Management GmbH
                                                             Tech Data Finance Partner, Inc.
                                                             Tech Data Finance SPV, Inc.
                                                             Tech Data Financing Corporation
                                                             Tech Data Finland Oy
                                                             Tech Data Florida Services, Inc.
                                                             Tech Data France Holding Sari
                                                             Tech Data France SAS
                                                             Tech Data Global Finance LP
                                                             Tech Data GmbH & Co OHG
                                                             Tech Data Information Technology GmbH
                                                             Tech Data International Sarl
                                                             Tech Data Itafia Sri
                                                             Tech Data Latin America, Inc.
                                                             Tech Data Limited
                                                             Tech Data Lux Finance S.a.r.l
                                                             Tech Data Luxembourg S.a.r.l
                                                             Tech Data Management GmbH
                                                             Tech Data Marne SNC
                                                             Tech Data Mexico S. de R. L. de C. V.
                                                             Tech Data Midrange GmbH
                                                             Tech Data Mobile Acquisition Limited (formerly known as Brightstar Acquisition Limited)
                                                             Tech Data Mobile Cooperatief W.A. (formerly known as Brightstar Cooperatief W.A.)
                                                             Tech Data Mobile Limited (formerly known as Brightstar Europe Limited)
                                                             Tech Data Mobile Netherlands BV (formerly known as M.C.C BV)
                                                             Tech Data Nederland BV
                                                             Tech Data Norge AS
                                                             Tech Data Operations Center, SA
                                                             Tech Data Osterreich GmbH
                                                             Tech Data Polska Sp.z.o.o.
                                                             Tech Data Product Management, Inc.
                                                             Tech Data Resources, LLC
                                                             Tech Data Service GmbH
                                                             Tech Data Servicios, S. de R.L. de c.v.
                                                             Tech Data Strategy GmbH
                                                             Tech Data Tennessee, Inc.
                                                             Tech Data Uruguay S.A.

   15    Cemaz Industria Electronica Da Amazonia S/A         Componel Industria E Comercio LTDA.                                                         8/7/2015
                                                             Satron Industrias Electronicas LTDA.

   16    IGB Electronica S/A                                 Gradiente Audio E Video LTDA                                                                8/7/2015
                                                             Gradiente Electronica S/A
